Case 3:16-cv-03362-M-BN Document 52 Filed 04/28/17                                                  Page 1 of 62 PageID 497


                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

JEWELLEAN MOORE                                                             §
                                                                            §
        Plaintiff,                                                          §
                                                                            §
v.                                                                          § Civil Action No. 3:16-cv-03362-M-BN
                                                                            §
LANCASTER REGIONAL HOSPITAL, L.P.                                           §
d/b/a CRESCENT MEDICAL CENTER                                               §
LANCASTER                                                                   §
                                                                            §
        Defendant.                                                          §


     APPENDIX TO DEFENDANT LANCASTER REGIONAL HOSPITAL, L.P. D/B/A
          CRESCENT MEDICAL CENTER’S RESPONSE TO PLAINTIFF’S
       REQUEST FOR DEFAULT JUDGMENT AND STAY OF THE IN-PERSON
          GUARDIAN AD LITEM HEARING PENDING DE NOVO REVIEW



        Plaintiff’s Request for Default Judgment and Stay of the In-Person Guardian Ad Litem
        Hearing/Pending De Novo Review . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

        Order Setting Briefing Schedule . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

        Email correspondence between pro se Plaintiff Jewellean Moore and Attorney Monica
        Bailey . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

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        Links Paratransit Service Physician Verification of Disability Form . . . . . . . . . . . . . . . 32

        Deposition of pro se Plaintiff Jewellean Moore . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34




Appendix
811.0009/502177.1
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                            IN THE UNITED STATES DISTRICT COURT

                            FOR THE NORTHERN DISTRICT OF TEXAS

                                  DALLAS         DIVISION

J EWELLEAN MOORE, PLAINTIF,

VS.                                             CASE # 3:16cv 3362

CRESCENT MEDICAL CENTER, DEF., ET AL.



                         PLAINTIFF'S REQUEST FOR DEFAULT JUDGMENT

                         AND STAY OF THE IN-PERSON-GUARDIAN AD LITEM

                             HEARING/PENDING DE NOVO REVIEW

 Comes Now the Plaintiff, Jewellean Moore, pursuant to Rules 11( c)(1 ); 37(b); 55; and

60(6), FRCP, Request Sanctions of Default Judgment, and Stay of the In-Person Hearing for

May, 02, 2017. This Court's inherent Power to Stay these Proceedings in the furtherance of the

Fair and Efficient Administration of Justice, Landis V. N. AM., Co., 299 U.S. 248, 249, 254(1936).



                              REQUEST FOR DEFAULT JUDGMENT:

1). The Defendants were Ordered on March 8, 2017, to Respond to Plaintiff's Amended Complaint by

April 7, 2017. The Defendants have failed to respond or otherwise plead. To make clear, the Court

Should determine whether the Original or Amended Complaint are now at issue. Also,the Court

Should not allow the Defendants defend against use of the Amended Complaint, or enter default

Judgment against the Defendants.

                   STAY OF THE IN-PERSON-GUARDIAN AD LITEM HEARING

                                  PENDING DE NOVO REVIEW

2). The Magistrate's Order of April 18, 2017, is clearly errouneous and contrary to law. The Order

Requires Plaintiff to Travel more than 626 miles for what should have been a pro forma process.

                                                 (1)




                                                       1
     Case 3:16-cv-03362-M-BN Document 52 Filed 04/28/17                        Page 3 of 62 PageID 499



The Order states,"during the April 18, 2017, phone Conference, it became apparent that in-person-

Hearing on Ms. Moore Request is necessary ". This is incompatible with Plaintiff's Doctor's opinion.

    There exist no evidentiary facts to support the lack of Appointment of a Friend of Court Appointment

Of Ms. Moore's Domestic Partner by the Court sua sponte. Plaintiff's Doctor's assessment of Plaintiff's

Disabilities should have been a coup de gras blow to the opposition. The Magistrate failed to issue any

Order that protects the Plaintiff's interest, despite Dr. Jayakrishanan Deepa's Verification of disabilities

Attached to Plaintiff's request for Guardian ad litem/Friend of the Court Appointment.

    The Federal Rules, 52(a)(3), and 72(a), Requires the Magistrate rely on factual evidence . there is

Nothing in the records which diminishes Plaintiff's evidence of Mental Disability. In fact, the Magistrate

Has failed to disclose the sudden epiphany that could not be handled by contemporaneous transmission

From different location, pursuant to Rule 43, FRCP.

    The Magistrate's order at this juncture is a burdening hardship, and exceeds what is necessary for

Appointment of a Friend of Court or Guardian ad litem.

 WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY THIS COURT STAY THE IN-PERSON-GUARDIAN
AD LITEM HEARING; IMPOSE SANTIONS OR DEFAULT AGAINST THE DEFENDANTS FOR VIOLATIG COURT
ORDER NO. 30. ALTERNATIVELY, DE NOVO REVIEW.




1
J
        vokeul c-hrkep-k_
      ellean Moore
                                                      . Dated this      24th day of April, 2017.




                                    CERTIFICATE OF CONFERENCE

    I,Jewellean Moore, certify that Monica Bailey, has made communications difficult, nevertheless,

She was Notified by email. Counsel is aware of Plaintiff's Partner preparing documents, yet She

Makes unwarranted remarks to impede the process of a conference.

    I swear the foregoing statements are true and correct.

                    Ow 'Mau
Jew lean Moore

                                                      (2)




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                                        CERTIFICATE OF SERVICE:




 I,Jewellean Moore, certify that a copy of the foregoing Default Judgment/Request for Stay, is

Hereby mailed to: Monica Bailey, Attorney for Defendants this 24th day of April, 2017, by U.S. Mail,

Postage prepaid.

 I wear the foregoing statements are true and correct.



ewellean Moore

6200 Colonel Glenn Rd #219

Little Rock, AR. 72204




                                                   (3)




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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

JEWELLEAN MOORE,

             Plaintiff,

                                                     No. 3:16-cv-3362-M-BN

CRESCENT MEDICAL CENTER,
ET AL.,

             Defendants.

                   ORDER SETTING BRIEFING SCHEDULE

      Thispro se action has been referred to the undersigned United States magistrate

judge for pretrial management under 28 U.S.C. § 636(b) and a standing order of

reference from Chief Judge Barbara M. G. Lynn.

      Plaintiff Jewellean Moore has filed a motion for leave to amend her complaint

and seeks leave to join an additional defendant. See Dkt. No. 29.

      Defendant Lancaster Regional Hospital, L.P. d/b/a Crescent Medical Center

Lancaster (identified by Plaintiff as Crescent Medical Center) shall file a written

response to the motion by April 7, 2017. The response must be accompanied by or

incorporate a brief, and the response and the brief shall not together exceed 30 pages

in length, excluding any table of contents and table of authorities.

      Plaintiff may file a reply brief, but no additional documents, by April 24,2017.

The reply shall not exceed 15 pages in length. No supplemental pleadings, briefs, or

evidence or other documents may be filed in connection with the motion to dismiss or


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Case
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                                                                 625 PageID 171


response thereto without leave of court.

      Because Plaintiff is proceeding pro se, the Court sets out the following legal

standards applicable (or potentially applicable) to the motion:

       When the party is not subject to an expired deadline for seeking leave to amend,

see Dkt. No. 25, ifif 2 & 3, Federal Rule of Civil Procedure 15(a) requires that leave to

amend be granted freely "when justice so requires," FED. R. CIV. P. 15(a)(2). That is,

Rule 15(a) provides a "strong presumption in favor of granting leave to amend,"Fin.

Acquisition Partners, LP v. Blackwell,440 F.3d 278,291(5th Cir. 2006), and the Court

must do so "unless there is a substantial reason to deny leave to amend," Dussouy v.

Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir. 1981).

       Thus, while leave to amend is not automatic, see Jones v. Robinson Prop. Grp.,

L.P., 427 F.3d 987, 994 (5th Cir. 2005), the federal rules' policy "is to permit liberal

amendment to facilitate determination ofclaims on the merits and to prevent litigation

from becoming a technical exercise in the fine points of pleading," Dussouy,660 F.2d

at 598.

       The Court "may consider a variety of factors" when deciding whether to grant

leave to amend,"including undue delay, bad faith or dilatory motive on the part of the

movant, repeated failures to cure deficiencies by amendments previously allowed,

undue prejudice to the opposing party by virtue of allowance of the amendment, and

futility of the amendment." Jones, 427 F.3d at 994; accord Jebaco Inc. v. Harrah's

Operating Co. Inc., 587 F.3d 314, 322(5th Cir. 2009)("leave to amend is to be granted



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Case
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liberally unless the movant has acted in bad faith or with a dilatory motive, granting

the motion would cause prejudice, or amendment would be futile").

       Therefore, a court may "refuse leave to amend if ... the complaint as amended

would be subject to dismissal," Varela v. Gonzales, 773 F.3d 704, 707 (5th Cir. 2014)

(quoting Ackerson v. Bean Dredging, LLC,589 F.3d 196, 208(5th Cir. 2009); internal

quotation marks omitted); see also Legate v. Livingston, 822 F.3d 207, 211 (5th Cir.

2016)(While "the language of [Rule 15(a)]'evinces a bias in favor of granting leave to

amend,'... a district court need not grant a futile motion to amend."(quoting Lyn-Lea

Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282, 286 (5th Cir. 2002)(in turn quoting

 Chitimacha Tribe of La. v. Harry L. Laws Co., 690 F.2d 1157, 1162 (5th Cir. 1982));

citation omitted)); cf. Stem v. Gomez, 813 F.3d 205, 215-16(5th Cir. 2016)("When an

amended complaint would still 'fail to survive a Rule 12(b)(6) motion,'it is not an abuse

of discretion to deny the motion"' for leave to amend.(quoting Marucci Sports, L.L.C.

 v. Nat'l Collegiate Athletic Ass'n, 751 F.3d 368, 378 (5th Cir. 2014))).

       Because the Court's futility analysis parallels an analysis of a motion to dismiss

 under Federal Rule of Civil Procedure 12(b)(6), the undersigned notes that "[u]nder

that standard,'a complaint must contain sufficient factual matter, accepted as true,

to state a claim to relief that is plausible on its face.'[And a] claim is facially plausible

if the complaint'allows the court to draw the reasonable inference that the defendant

is liable for the misconduct alleged."' Thomas v. Chevron U.S.A., Inc., 832 F.3d 586,

 590(5th Cir. 2016)(quoting Ashcroft v. Iqbal, 556 U.S.662,678(2009)(in turn quoting



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Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); internal quotation marks

omitted)); see also Johnson v. City of Shelby, Miss., 574 U.S.        , 135 S. Ct. 346, 347

(2014)(per curiam)("[T]o survive a motion to dismiss" under Twombly and Iqbal, a

 plaintiff need only "plead facts sufficient to show" that the claims asserted have

"substantive plausibility" by stating "simply, concisely, and directly events" that a

 plaintiff contends entitle him or her to relief. (citing FED. R. CDT. P. 8(a)(2)-(3),(d)(1),

(e))).

         The United States"Supreme Court has made clear that" dismissal for failure to

state a claim "turns on the sufficiency of the 'factual allegations' in the complaint,"

Smith v. Bank of Am., N.A.,615 F. App'x 830,833(5th Cir. 2015)(per curiam)(quoting

Johnson, 135 S. Ct. at 347; emphasis added by Smith), and the Federal Rules of Civil

Procedure "do not countenance dismissal of a complaint for imperfect statement of the

legal theory supporting the claim asserted," Johnson, 135 S. Ct. at 346. That rationale

 has even more force in this case, as the Court "must construe the pleadings of pro se

litigants liberally." Andrade v. Gonzales, 459 F.3d 538, 543(5th Cir. 2006).

         The deadlines set forth in this order will not be modified except upon written

 motion for good cause shown.

         Further, the Court strongly discourages any request to extend either of these

 deadlines through a motion that is filed within three business days of the existing

 deadline and will grant any such motion only upon a showing in the written motion of

 extraordinary circumstances.



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      The Court intends to rule on the motion based on the parties' written

submissions, without hearing oral argument. See N.D. TEX. L. Civ. R. 7.1(g)("Unless

otherwise directed by the presiding judge, oral argument on a motion will not be

held."). But the Court, in its discretion or on the request of any party, may schedule

oral argument prior to ruling on the motion. Any party who desires oral argument

must file a written request with the Court by April 24, 2017.

      If, while the motion is pending, the parties are having serious discussions that

might make it unnecessary for the Court to rule on the motion, the parties must

immediately advise Shakira Todd in the district clerk's office, at(214) 753-2165, that

such discussions are ongoing.

      Please note that deadlines in this order are for filing or delivery and are not

mailing dates.

      SO ORDERED.

      DATED: March 8, 2017




                                       DAVID L. HORAN
                                       UNITED STATES MAGISTRATE JUDGE




                                         8
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Bailey, Monica

From:                     Jewellean Moore [jewellean61@gmail.com]
Sent:                     Thursday, April 27, 2017 8:08 AM
To:                       Bailey, Monica
Subject:                  Re: Contacting Represented Parties


Ms Bailey. I am sorry to inform You that Paralegals, Investigators, And private investigators can and will be
investigating issues as they see fit. Private Citizens can also.the real concern is your concealing Your Clients
colorful past as the reasons for their name change. So stay tune.

On Apr 26,2017 12:28 PM,"Bailey, Monica" <mbailey@schellcooley.com> wrote:

Ms. Moore,



It has come to our attention that you are contacting our client, Hudson Insurance Group, through Mr. Carson in
order to obtain information about insurance coverage for Crescent Medical Center. Ms. Moore, the Court has
already explained to you in very clear terms: Mr. Carson may not assist you with this case, which includes
contacting our client demanding information about coverage or any other matter.



Ms. Moore, even a pro se plaintiff is prohibited from contacting any party represented by counsel. Hudson
Insurance group will not answer any of your questions, neither will Crescent Medical Center. You will cease
from contacting our clients - either directly or through the assistance of Mr. Carson - effective
IMMEDIATELY.



If you have any questions you may call me to discuss.



Sincerely,



Monica Rey Bailey

Associate Attorney

Schell Cooley LLP

15455 Dallas Parkway, Suite 550

Addison, Texas 75001

PHONE:214-665-2000
                                                          1
                                                         9
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FAX: 214-754-0060

Email: mbailey@schellcooley.com




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Bailey, Monica

From:                    Jewellean Moore [jewellean61@gmail.com]
Sent:                    Tuesday, April 25, 2017 8:04 AM
To:                      Bailey, Monica
Subject:                 Moore v. Crescent


We will ask the Court to strike Your Notice of Defendants position regarding Plaintiffs Amended Complaint as
violating the Courts standing order of 12/29/17.




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Bailey, Monica
From:                    Jewellean Moore [jewellean61@gmail.com]
Sent:                    Monday, April 24, 2017 8:18 AM
To:                      Bailey, Monica
Subject:                 Moore V. Crescent Medical et al
Attachments:             IN THE UNITED STATES DISTRICT COURT-2.docx


I am today mailing to you a copy of My " Motion for default judgment ", for failure to respond to my amended
complaint ,due April 7.
  Also, attached is My Request "For de novo review and objection to the Magistrates 4/18/2017, Order".
Thanks, JM.




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Bailey, Monica

From:                     Jewellean Moore [jewellean61@gmail.com]
Sent:                     Saturday, April 22, 2017 10:45 AM
To:                       Bailey, Monica
Subject:                  Re: Moore v. Crescent med.


If this Magistrate allows your reasoning to prevail, hello united states Supreme Court, We are prepared Ms
Bailey to go the Distance.

On Apr 22,2017 10:41 AM,"Bailey, Monica" <mbailey@schellcooley.com> wrote:
No Ms. Moore it wasn't. If there was a defaultjudgment there would be no need for a hearing to determine your
guardianship. You are incorrect.

I find it interesting you were unable to answer the most basic questions regarding your case during the phone
call with the Judge and yet you are claiming to understand the rules regarding default judgment.

Thank you for providing us clarity regarding whether you are, in fact, capable of adjudicating your own claim.

Sincerely,

Monica R Bailey

Sent from my iPhone

On Apr 22, 2017, at 10:35 AM,Jewellean Moore <jewellean61@grnail.com> wrote:

       I can not waste my time reading you Court document number 30. Answer was Ordered.
       Good day.

       On Apr 22, 2017 10:32 AM,"Bailey, Monica" <mbailey(&,schellcooley.com> wrote:
       Ms. Moore,

        The Court has to first grant leave on your motion to amend. We didn't object to your motion for
        leave. That is not the same as not answering your amended complaint IF the Court grants leave.
        He hasn't issued any ruling on it yet.

        Sent from my iPhone

        On Apr 22, 2017, at 10:30 AM,Jewellean Moore <iewellean61@gmail.com> wrote:

               You will

               On Apr 22, 2017 10:28 AM,"Bailey, Monica" <mbailey@schellcooley.com>
               wrote:
               Ms. Moore I have no idea what you are referring to in your email.

               Sent from my iPhone




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     On Apr 22,2017, at 10:27 AM,Jewellean Moore <jewellean61@gmail.com>
     wrote:

           Notice of Default Judgement, and hearing request witin 7 days on
           Plaintiffs Amended complaint. Answer were due April 7, 2017.
           Thanks.




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Bailey, Monica

From:                    Jewellean Moore [jewellean61@gnnail.com]
Sent:                    Saturday, April 22, 2017 10:36 AM
To:                      Bailey, Monica
Subject:                 Re: Moore v. Crescent med.


I can not waste my time reading you Court document number 30. Answer was Ordered.
Good day.

On Apr 22,2017 10:32 AM,"Bailey, Monica" <mbailey@schellcooley.com> wrote:
Ms. Moore,

The Court has to first grant leave on your motion to amend. We didn't object to your motion for leave. That is
not the same as not answering your amended complaint IF the Court grants leave. He hasn't issued any ruling on
it yet.

Sent from my iPhone

On Apr 22, 2017, at 10:30 AM,Jewellean Moore <jewellean61@gmail.com> wrote:

       You will

       On Apr 22, 2017 10:28 AM,"Bailey, Monica" <mbailey@schellcooley.com> wrote:
       Ms. Moore I have no idea what you are referring to in your email.

       Sent from my iPhone

       On Apr 22,2017, at 10:27 AM,Jewellean Moore <jewellean61@gmail.com> wrote:

              Notice of Default Judgement, and hearing request witin 7 days on Plaintiffs
              Amended complaint. Answer were due April 7, 2017.
              Thanks.




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Bailey, Monica

From:                      Jewellean Moore [jewellean61@gmail.com]
Sent:                      Monday, April 17, 2017 11:00 AM
To:                        Bailey, Monica
Subject:                   RE: Court Ordered Telephone Conference on Tuesday at 3:00 pm


You and that attitude will get nowhere. Ms Moore is unable to utilize emails. So put it in the mail so someone
can help Her. You are a charlatan. Why do you think She is asking for help. Art Carson

On Apr 17, 2017 10:54 AM,"Bailey, Monica" <mbailey@schellcooley.com> wrote:

Ms. Moore,




I will not expend my client's resources explaining the Orders to you. You are responsible to read them and follow the
directions from the Court via ALL the various Orders.




As it stands, both parties are ordered to confer with Judge Horan and Defendant will comply with the order and attend
the phone conference.




Sincerely,




Monica Rey Bailey

Associate Attorney

Schell Cooley 1..,1..,P

15455 Dallas Parkway, Suite 550

Addison, Texas 75001

PHONE: 214-665-2000

FAX:214-754-0060

Email: mbailey@schellcooley.com




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From: Jewellean Moore [mailto:iewellean610gmail.com]
Sent: Monday, April 17, 2017 10:45 AM
To: Bailey, Monica
Subject: Re: Court Ordered Telephone Conference on Tuesday at 3:00 pm




According to pacer i have been advised the guardian ad litem motion has not been docketed. The motion were
mailed by certified mail, and the post office indicated problems in delivery. So without my motion and exhibit
from My Doctor, you are premature.

On Apr 17, 20179:32 AM,"Bailey, Monica" <mbailey@schellcooley.com> wrote:

Ms. Moore,



Please see the correspondence from the Court below. We are ordered to have a telephone conference with Judge
Horan tomorrow — Tuesday — at 3:00p.m. to discuss your request for a Guardian at Litem.



I will be calling from my office number 214-665-2018.



What number shall I tell the Court to call you?



Monica Rey Bailey

Associate Attorney

Schell Cooley LLP

15455 Dallas Parkway, Suite 550

Addison, Texas 75001

PHONE: 214-665-2000

FAX: 214-754-0060

Email: mbailey@schellcooley.com

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Notice of Electronic Filing


The following transaction was entered on 4/17/2017 at 9:07 AM CDT and filed on 4/17/2017

Case Name:      Moore v. Crescent Medical Center et al
Case Number:    3:16-cv-03362-M-BN
Filer:
Document Number:43(No document attached)

Docket Text:
 ELECTRONIC ORDER: The Court's staff received a telephone call from Defendant's counsel
asking the Court to schedule a telephone conference regarding Ms. Moore requesting a
 Guardian Ad Litem be appointed to her case. Telephone Conference set for 4/18/2017 03:00
PM before Magistrate Judge David L. Horan. Defendant's counsel are ordered to circulate a
 dial-in number for this telephone conference to the Court(at
 Horan Orders0,bcnd.uscourts.qov) and to Plaintiff by 5:00 p.m. Central Time on April 17, 2017.
(Ordered by Magistrate Judge David L. Horan on 4/17/2017)(mcrd)




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Bailey, Monica

From:                       Jewellean Moore [jewellean61@gmail.com]
Sent:                       Saturday, April 15, 2017 10:14 AM
To:                         Bailey, Monica
Subject:                    RE: Moore v. Crescent med


Sorry to disturb you, but I am cancelling any telephone conferences with the Judge until a joint status report is
filed.
Thanks

On Apr 14, 2017 12:36 PM,"Bailey, Monica" <mbailey@schellcooley.com> wrote:

Ms. Moore,




Very good. I have left a message with the court clerk. She may be out for Good Friday. I will let you know if the dates
you've given will work for Judge Horan as soon as I hear from her.




Enjoy your Easter weekend.




Monica Rey Bailey

Associate Attorney

Schell Cooley LLP

15455 Dallas Parkway, Suite 550

Addison, Texas 75001

PHONE: 214-665-2000

FAX: 214-754-0060

Email: mbailey@schellcooley.com




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       Case 3:16-cv-03362-M-BN Document 52 Filed 04/28/17      Page 21 of 62 PageID 517
From: Jewellean Moore [mailto:jewellean610gmail.com]
Sent: Friday, April 14, 2017 12:29 PM
To: Bailey, Monica
Subject: Moore v. Crescent med




Anytime on the 17-18th of april, 9:00 Am-4:00 would be fine.




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Bailey, Monica

From:                      Jewellean Moore [jewellean61@griail.corn]
Sent:                      Monday, April 10, 2017 9:55 AM
To:                        Bailey, Monica
Subject:                   RE: Moore v. Crescent et al


Tomorrow is fine, thanks

On Apr 10, 2017 9:44 AM,"Bailey, Monica" <mbailey@schellcooley.com> wrote:

Good morning Ms. Moore,




I am not sure what the requirements are for a proceeding to appoint a guardian ad litem in federal court. A conversation
today would not be productive since I will need some time to research the topic. Can we plan to discuss tomorrow?




You can call me anytime between 9:30 and 5:30 at 214-665-2018.




Sincerely,




Monica Rey Bailey

Associate Attorney

Schell Cooley I,I,P

15455 Dallas Parkway, Suite 550

Addison, Texas 75001

PHONE: 214-665-2000

FAX: 214-754-0060

Email: mbailey@schellcooley.com




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        Case 3:16-cv-03362-M-BN Document 52 Filed 04/28/17                Page 23 of 62 PageID 519
From: 3ewellean Moore [mailto:jewellean610grnail.corn]
Sent: Monday, April 10, 2017 8:09 AM
To: Bailey, Monica
Subject: Moore v. Crescent et al




Ms Bailey, I will need to confer with you over the phone. Since Mr Carson will no longer email for me, and I
am unable to do so.therefore i will need a Guardian ad litem due to My Mental disabilities. I need some type of
accomodation in accordance with the American Disability Act, to have access to Court.
Thanks




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Bailey Monica

From:                    Jewellean Moore [jewellean61@gmail.com]
Sent:                    Monday, April 10, 2017 8:09 AM
To:                      Bailey, Monica
Subject:                 Moore v. Crescent et al


Ms Bailey, I will need to confer with you over the phone. Since Mr Carson will no longer email for me, and I
am unable to do so.therefore i will need a Guardian ad litem due to My Mental disabilities. I need some type of
accomodation in accordance with the American Disability Act, to have access to Court.
Thanks




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                                                      23
4/28/2017 Case     3:16-cv-03362-M-BN Document 52District
                                                     Filed    04/28/17
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                                                                                                             CASREF,IFP,JURY

                                            U.S. District Court
                                     Northern District of Texas (Dallas)
                              CIVIL DOCKET FOR CASE #:3:16-cv-03362-M-BN


  Moore v. Crescent Medical Center et al                                                 Date Filed: 12/05/2016
  Assigned to: ChiefJudge Barbara M.G. Lynn                                              Jury Demand:Both
  Referred to: Magistrate Judge David L. Horan                                           Nature ofSuit: 362 Torts/Pers Inj: Personal
  Case in other court: Arkansas Eastern, 4:16-cv-00845                                   Injury - Medical Malpractice
  Cause: 28:1332 Diversity-Medical Malpractice                                           Jurisdiction: Diversity

  Plaintiff
  Jewellean Moore                                                           represented by Jewellean Moore
                                                                                           6200 Colonel Glenn Road #219
                                                                                           Little Rock, AR 72204
                                                                                           501-240-2422
                                                                                           PRO SE


  V.
  Defendant
  Crescent Medical Center                                                   represented by Russell W Schell
                                                                                           Schell Cooley LLP
                                                                                           15455 Dallas Parkway
                                                                                           Suite 550
                                                                                           Addison, TX 75001
                                                                                           214-665-2020
                                                                                           Fax: 214-754-0060
                                                                                           Email: rschell@schellcooley.cora
                                                                                           LEAD ATTORNEY
                                                                                           A TTORNEY TO BE NOTICED
                                                                                           Bar Status: Admitted/In Good Standing

                                                                                          Casey Cole Campbell
                                                                                          Schell Cooley LLP
                                                                                          15455 Dallas Parkway
                                                                                          Suite 550
                                                                                          Addison, TX 75001
                                                                                          214-665-2000
                                                                                          Fax: 214-754-0060
                                                                                          Email: ccampbell@schellcooley.com
                                                                                          A TTORNEY TO BE NOTICED
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4/28/2017 Case    3:16-cv-03362-M-BN Document 52District
                                                    Filed    04/28/17
                                                         Version 6.1.1       Page 26 of 62 PageID 522
                                                                       Bar Status: Admitted/In Good Standing

                                                                              Monica Rey Bailey
                                                                              Schell Cooley LLP
                                                                              15455 Dallas Parkway
                                                                              Suite 550
                                                                              Addison, TX 75001
                                                                              214-665-2000
                                                                              Fax: 214-754-0060
                                                                              Email: mbailey@schellcooley.com
                                                                              A TTORNEY TO BE NOTICED
                                                                              Bar Status: Admitted/In Good Standing

 Defendant
 Emanuel Rafael
 Dr.


  Date Filed               # Docket Text

  1 1/17/2016               1   MOTION for Leave to Proceed in forma pauperis filed by Jewellean Moore.(rhm)
                                [Transferred from Arkansas Eastern on 12/5/2016.](Entered: 11/17/2016)

  11/17/2016                2 COMPLAINT with Jury Demand filed by Jewellean Moore against all Defendants.(rhm)
                             (Docket text modified on 11/18/2016 to include a reference to the Jury Demand.)(thd).
                              [Transferred from Arkansas Eastern on 12/5/2016.](Main Document 2 replaced on
                              2/8/2017)(axm).(Additional attachment(s) added on 2/8/2017:# 1 Document
                              Restricted - Exhibit(s))(axm). Modified restriction level ofpages 5-9 on 2/8/2017 per 23
                              Order.(axm).(Entered: 11/17/2016)

   1 1/18/2016                   NOTICE OF DOCKET CORRECTION re:2 Complaint. CORRECTION:The docket
                                 text was modified to include a reference to the Jury Demand.(thd)[Transferred from
                                 Arkansas Eastern on 12/5/2016.](Entered: 11/18/2016)

   12/05/2016               3 ORDER directing the Clerk ofthe Court to immediately transfer this case to the United
                              States District Court for the Northern District ofTexas, Dallas Division. Signed by Judge
                              Billy Roy Wilson on 12/05/2016.(rhm)[Transferred from Arkansas Eastern on
                              12/5/2016.](Entered: 12/05/2016)

   12/05/2016               4 Case electronically transferred in from District ofArkansas Eastern; Case Number 4:16-
                              cv-00845. Unless exempted, attorneys who are not admitted to practice in the Northern
                              District ofTexas should seek admission promptly. Forms, instructions, and exemption
                              information may be found at www.txnd.uscourts.gov, or by clicking here: Attorney
                              Information - Bar Membership. Ifadmission requirements are not satisfied within 21
                              days, the clerk will notify the presidingjudge. Copy ofNEF to be sent US Mail to parties
                              not electronically noticed.(Entered: 12/05/2016)

   12/05/2016               5 New Case Notes: A filing fee has not been paid. CASREF case referral set and case
                                                                                                                          2/8
https://ectbod.uscourts.govIcg i-bin/DkRpt.pl?186942842499543-1. 1_0-1
                                                                         25
4/28/2017 Case     3:16-cv-03362-M-BN Document 52District      Filed  04/28/17
                                                                  Version 6.1.1    Page 27 of 62 PageID 523
                            referred to Magistrate Judge Horan(see Special Order 3). Case received over
                            counter/electronically. No prior sanctions found.(For court use only - links to the national
                            and circuit indexes.)Pursuant to Misc. Order 6, Plaintiffis provided the Notice ofRight
                            to Consent to Proceed Before A U.S. Magistrate Judge (Judge Horan). Clerk to provide
                            copy to plaintiffif not received electronically. Motion(s) referred to Magistrate Judge
                            David L Horan.(aaa)(Entered: 12/05/2016)
   12/05/2016                6 Notice and Instruction to Pro Se Party.(aaa)(Entered: 12/05/2016)

   12/05/2016                     ***Clerk's Notice of delivery:(see NEF for details) Docket No:5,6. Mon Dec 5
                                  14:58:41 CST 2016 (crt)(Entered: 12/05/2016)

   12/06/2016                     ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:3. Tue Dec 6 12:16:53
                                  CST 2016 (crt)(Entered: 12/06/2016)

   12/06/2016                7 ORDER GRANTING LEAVE TO PROCEED IN FORMA PAUPER'S,
                               SPECIFYING FURTHER ACTION TO BE TAKEN BY THE CLERK, AND
                               REQUIRING SERVICE BY THE MARSHAL:Clerk ofthe Court shall mail a copy of
                               this order to Plaintiff and issue summons, and the United States Marshal shall serve
                               process on the following defendants. Re: 1 Motion for Leave to Proceed In Forma
                               Pauperis.(Ordered by Magistrate Judge David L Horan on 12/6/2016)(epm)(Entered:
                                12/07/2016)

   12/07/2016                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:7. Wed Dec 7 09:15:30
                                   CST 2016 (crt)(Entered: 12/07/2016)

   12/07/2016                8 Summons Issued as to Cresent Medical Center, Emanuel Rafael.(epm)(Entered:
                               12/07/2016)

   12/07/2016                9 Business Reply Card signed by USMS;re 8 Summons Issued, 7 Order on Motion for
                                Leave to Proceed in Forma Pauperis, 2 Complaint. Signed on 12/7/2016.(epm)
                               (Entered: 12/07/2016)

   12/28/2016               10 ANSWER to 2 Complaint with Jury Demand filed by Cresent Medical Center. Unless
                               exempted, attorneys who are not admitted to practice in the Northern District ofTexas
                               must seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov,
                               or by clicking here: Attorney Information - Bar Membership. Ifadmission requirements
                               are not satisfied within 21 days, the clerk will notify the presidingjudge. Attorney Russell
                               W Schell added to party Cresent Medical Center(pty:dft)(Schell, Russell)(Entered:
                               12/28/2016)

    12/29/2016              11     ORDER DIRECTING FILING OF JOINT STATUS REPORT:Joint Status Report
                                   due by 1/13/2017.(Ordered by Magistrate Judge David L Horan on 12/29/2016)
                                  (mcrd)(Entered: 12/29/2016)

    12/29/2016                     ***Clerk's Notice ofdelivery:(see NEF for details) Docket No: 11. Thu Dec 29
                                   16:02:18 CST 2016 (crt)(Entered: 12/29/2016)

    12/29/2016              12 STANDING ORDER ON NON-DISPOSITIVE MOTIONS.(Ordered by Magistrate
                               Judge David L Horan on 12/29/2016)(mcrd)(Entered: 12/29/2016)
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 https://ectbald.uscourts.g ov/cg i-bin/DI4Rpt.p17186942842499543-L 1_0-1
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4/28/2017 Case
            3:16-cv-03362-M-BN Document 52District  Filed  04/28/17
                                                       Version 6.1.1  Page 28 of 62 PageID 524
  12/29/2016         ***Clerk's Notice ofdelivery:(see NEF for details) Docket No: 12. Thu Dec 29
                     16:03:44 CST 2016 (crt)(Entered: 12/29/2016)
  01/03/2017                13 SUMMONS Returned Executed as to Cresent Medical Center; served on 12/28/2016.
                               (mem)(Entered:01/03/2017)

  01/03/2017                14 SUMMONS Returned Unexecuted as to Emanuel Rafael. Defendant is deceased.(mem)
                               (Entered:01/03/2017)

  01/05/2017                15 ORDER REQUIRING 26(F)REPORT AND SETTING 16(B) CONFERENCE:Rule
                               26(f) Joint Status Report due by 2/2/2017. Rule 16(b)Pretrial Scheduling Conference set
                               for 2/9/2017 10:00 AM before Magistrate Judge David L Horan.(Ordered by
                               Magistrate Judge David L Horan on 1/5/2017)(mcrd)(Entered:01/05/2017)

  01/05/2017                       ***Clerk's Notice ofdelivery:(see NEF for details) Docket No: 15. Thu Jan 5 10:41:09
                                   CST 2017(crt)(Entered:01/05/2017)

  01/10/2017                16 MOTION Permission for telephone conference for Rule 26(f) filed by Cresent Medical
                               Center (Attachments:# 1 Proposed Order Proposed Order)(Schell, Russell)(Entered:
                               01/10/2017)

  01/11/2017                17 ORDER GRANTING 16 AGREED MOTION:Finding good cause, the Court
                               GRANTS the parties' agreed motion requesting permission to conduct the Federal Rule
                               of Civil Procedure 26(f) conference, to be held no later than January 19, 2017,
                               telephonically.(Ordered by Magistrate Judge David L. Horan on 1/11/2017)(mcrd)
                              (Entered: 01/11/2017)

  01/11/2017                        ***Clerk's Notice ofdelivery:(see NEF for details) Docket No: 17. Wed Jan 11
                                    1 1:16:18 CST 2017(crt)(Entered:01/11/2017)

  01/20/2017                18 Joint STATUS REPORT ofRule 260 Conference filed by Cresent Medical Center.
                              (Schell, Russell)(Entered:01/20/2017)

  01/26/2017                19 Notice ofDefendant's Initial Disclosures filed by Cresent Medical Center (Schell, Russell)
                               Docket event and text corrected on 1/27/2017 (twd).(Entered:01/26/2017)

  01/27/2017                20 Request for Exemption from the Scheduled Pretrial Conference Appearance ofFebruary
                               9,2017 filed by Jewellean Moore.(rekc)(Entered:01/27/2017)

  01/30/2017                21      ORDER REGARDING RULE 16(B)PRETRIAL SCHEDULING CONFERENCE:
                                    While the Court will not excuse her participation in the Rule 16(b) pretrial scheduling
                                    conference, it will allow PlaintiffJewellean Moore to appear telephonically. She shall
                                    therefore contact the Court's courtroom deputy, Shakira Todd, at 214-753-2165, no
                                    later than 2/6/2017, at 4:00 pm, to provide a number at which she can be reached for the
                                    Rule 16(b) pretrial scheduling conference on 2/09/2017, at 10:00 am.(Ordered by
                                    Magistrate Judge David L. Horan on 1/30/2017)(twd)(Entered:01/30/2017)

  01/30/2017                        ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:21. Mon Jan 30
                                    1 1:51:02 CST 2017(crt)(Entered:01/30/2017)

  02/07/2017                22 (Document Restricted) Plaintiffs Initial Disclosure filed by Jewellean Moore.(ykp)(Main
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4/28/2017Case     3:16-cv-03362-M-BN Document 52DistrictFiled  04/28/17
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                           Document 22 replaced on 2/8/2017)(ykp). Modified restriction level on 2/8/2017 per
                           23 Order(axm).(Entered:02/08/2017)
  02/08/2017              23 ORDER SEALING CERTAIN DOCKET ENTRIES OR PORTIONS THEREOF:
                             Plaintiff Jewellean Moore has filed her initial disclosures under Federal Rule ofCivil
                             Procedure 26(a)(1). This filing includes medical information that could be considered
                             confidential. Attached to her complaint are also medical records that similarly could be
                             considered confidential. Out ofan abundance ofcaution, the Court SEALS Dkt. No. 22
                             and portions ofDkt. No. 2(pages 5-9). The continued sealing ofthis material will be
                             discussed with the parties at the 2/9/2017 Federal Rule ofCivil Procedure 16(b)
                             scheduling conference.(Ordered by Judge Jane J. Boyle on 2/8/2017)(axm)(Entered:
                             02/08/2017)


  02/08/2017                     ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:23. Wed Feb 8
                                 12:37:53 CST 2017(crt)(Entered:02/08/2017)

  02/09/2017              24 ELECTRONIC Minute Entry for proceedings held before Magistrate Judge David L.
                              Horan: Pretrial Scheduling Conference held on 2/9/2017. Order to Enter. Attorney
                              Appearances:Plaintiff- Jewellean Moore (pro se); Defense - Russell W Schell, Monica
                              R Bailey.(Court Reporter: Digital File)(No exhibits) Time in Court - :17.(mcrd)
                             (Entered:02/09/2017)

  02/09/2017              25 INITIAL SCHEDULING ORDER:Amended Pleadings due by 5/10/2017. Discovery
                              due by 11/1/2017. Joinder ofParties due by 5/10/2017. Motions due by 12/1/2017.
                             (Ordered by Magistrate Judge David L. Horan on 2/9/2017)(ykp)(Entered:
                             02/09/2017)

  02/09/2017                     ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:25. Thu Feb 9 13:43:14
                                 CST 2017 (crt)(Entered:02/09/2017)

  02/10/2017              26 AGREED ORDER TO SEAL MEDICAL RECORDS.(Ordered by Magistrate Judge
                             David L. Horan on 2/10/2017)(mcrd)(Entered:02/13/2017)
  02/13/2017                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:26. Mon Feb 13
                                  10:41:19 CST 2017 (crt)(Entered:02/13/2017)

  02/15/2017              27 MOTION to Appoint Counsel, alternatively Appointment ofMedical Expert filed by
                             Jewellean Moore.(ykp)(Entered:02/15/2017)

  02/16/2017              28 MEMORANDUM OPINION AND ORDER DENYING 27 MOTION TO
                              APPOINT COUNSEL AND,ALIERNATIVELY,TO APPOINT AN EXPERT.
                             (Ordered by Magistrate Judge David L. Horan on 2/16/2017)(twd)(Entered:
                             02/16/2017)

  02/16/2017                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:28. Thu Feb 16
                                  10:33:06 CST 2017 (crt)(Entered:02/16/2017)

  03/07/2017              29 MOTION for Leave to File Amended Complaint filed by Jewellean Moore.
                            (Attachments:# 1 Additional Page(s) Amended Complaint)(aaa)(Entered:03/07/2017)

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                                                                         28
4/28/2017Case     3:16-cv-03362-M-BN Document 52District
                                                   Filed     04/28/17
                                                         Version 6.1.1            Page 30 of 62 PageID 526
  03/08/2017              30 ORDER SETTING BRIEFING SCHEDULE re 29 Motion for Leave to Amend
                             Complaint and Leave to Join an Additional Defendant: Defendant's Response due by
                             4/7/2017. Plaintiffs Reply due by 4/24/2017. Any party who desires oral argument must
                             file a written request with the Court by 4/24/2017.(Ordered by Magistrate Judge David
                             L. Horan on 3/8/2017)(twd)(Entered:03/08/2017)
  03/08/2017                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:30. Wed Mar 8
                                  1 1:40:21 CST 2017 (crt)(Entered:03/08/2017)

  03/09/2017               31     MOTION to Compel Defendants filed by Jewellean Moore.(aaa)(Entered:
                                  03/10/2017)

  03/09/2017               32 MOTION for Protective Order filed by Jewellean Moore.(aaa)(Entered:03/10/2017)

  03/10/2017               33 ORDER REQUIRING JOINT STATUS REPORT:Joint Status Report due by
                              3/24/2017.(Ordered by Magistrate Judge David L. Horan on 3/10/2017)(epm)
                             (Entered:03/10/2017)

  03/10/2017                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:33 . Fri Mar 10
                                  14:18:53 CST 2017 (crt)(Entered:03/10/2017)

  03/21/2017               34 Joint STATUS REPORT filed by Crescent Medical Center.(Attachments:# 1 Exhibit(s)
                              Exhibits to Defendant's Joint Status Report)(Schell, Russell)(Entered:03/21/2017)

  03/24/2017               35 Plaintiffs Joint STATUS REPORT filed by Jewellean Moore.(sss) Modified on
                              4/3/2017 (mcrd).(Entered:03/24/2017)

  03/31/2017               36 ORDER SETTING DISCOVERY CONFERENCE AND ORAL ARGUMENT ON
                              PENDING DISCOVERY MOTIONS:The Court SETS a telephonic conference for
                              4/7/2017, at 10:00 a.m. The purpose ofthis conference is to allow for oral argument on
                               Ms. Moore's pending motions and for the Court and the parties to discuss apparent
                               difficulties with the discovery process highlighted by the parties' status reports. Ms.
                               Moore and counsel for Crescent shall each contact the Court's courtroom deputy,
                               Shakira Todd, at 214-753-2165, no later than 4/5/2017, at 4:00 p.m., to provide a
                               number at which each can be reached for the conference on 4/7/2017, at 10:00 a.m.
                              (Ordered by Magistrate Judge David L. Horan on 3/31/2017)(sss)(Entered:
                              03/31/2017)

  03/31/2017                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:36. Fri Mar 31 09:39:54
                                  CDT 2017(crt)(Entered:03/31/2017)

  04/07/2017               37 ELEC IRONIC Minute Entry for proceedings held before Magistrate Judge David L.
                              Horan: Motion Hearing held on 4/7/2017 re 32 Motion for Protective Order filed by
                              Jewellean Moore, 31 Motion to Compel filed by Jewellean Moore. Order to Enter.
                              Attorney Appearances:Plaintiff- Jewellean Moore (pro se); Defense - Monica Rey
                              Bailey, Casey Cole Campbell.(Court Reporter: Digital File)(No exhibits) Time in Court
                              - :28.(mcrd)(Entered:04/07/2017)

  04/07/2017               38 ***DOCUMENT STRICKEN,PER 39 ORDER*** MOTION to Terminate or Limit
                              Interrogatories/Deposition filed by Jewellean Moore.(axm)Modified on 4/7/2017 (aaa).

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4/28/2017 Case    3:16-cv-03362-M-BN Document 52District
                                                    Filed    04/28/17
                                                         Version 6.1.1            Page 31 of 62 PageID 527
                                (Entered:04/07/2017)
  04/07/2017               39 Order Striking 38 MOTION to Terminate or Limit Interrogatories/Deposition filed by
                              Jewellean Moore. Ms. Moore may refile the motion but only ifthe refiling complies with
                              the Standing Order's requirements.(Ordered by Magistrate Judge David L. Horan on
                              4/7/2017)(aaa)(Entered:04/07/2017)

  04/07/2017               40 ORDER denying 31 Motion to Compel; denying 32 Motion for Protective Order.
                             (Ordered by Magistrate Judge David L. Horan on 4/7/2017)(aaa)(Entered:
                              04/07/2017)

  04/07/2017                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:39,40. Fri Apr 7
                                  16:34:46 CDT 2017 (crt)(Entered:04/07/2017)

  04/11/2017               41 ***DOCUMENT STRICKEN PER 42 ORDER*** MOTION for Enlargement of
                              Time to Respond to Defendant's Interrogatories/Document Request filed by Jewellean
                              Moore.(sss) Modified on 4/12/2017 (aaa).(Entered:04/11/2017)

  04/12/2017               42 Order Striking and Unfiling 41 MOTION to Extend Time filed by Jewellean Moore due
                              to the following deficiency: The motion does not comply with the requirements ofthe
                              Court's December 29, 2016 Standing Order on Non-Dispositive Motions [Dkt. No. 12
                              1.(Ordered by Magistrate Judge David L. Horan on 4/12/2017)(aaa)(Entered:
                              04/12/2017)

  04/12/2017                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:42. Wed Apr 12
                                  10:09:50 CDT 2017 (crt)(Entered:04/12/2017)

  04/17/2017               43 ELEC IRONIC ORDER:The Court's staffreceived a telephone call from Defendant's
                               counsel asking the Court to schedule a telephone conference regarding Ms. Moore
                               requesting a Guardian Ad Litem be appointed to her case. Telephone Conference set for
                              4/18/2017 03:00 PM before Magistrate Judge David L. Horan. Defendant's counsel are
                               ordered to circulate a dial-in number for this telephone conference to the Court(at
                               Horan Orders@txnd.uscourts.gov) and to Plaintiff by 5:00 p.m. Central Time on April
                                     — (Ordered by Magistrate Judge David L. Horan on 4/17/2017)(mcrd)
                               17, 2017.
                              (Entered:04/17/2017)

  04/17/2017                      ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:. NEF #43 Mon Apr 17
                                  10:44:49 CDT 2017 (crt)(Entered:04/17/2017)

  04/17/2017               44 MOTION for Appointment ofGuardian Ad Litem Alternatively Permission for
                              Interlocutory Appeal filed by Jewellean Moore.(axm)(Entered:04/17/2017)

  04/18/2017               45 ELEC IRONIC Minute Entry for proceedings held before Magistrate Judge David L.
                              Horan: Telephone Conference held on 4/18/2017 re 44 MOTION for Appointment of
                              Guardian Ad Litem Alternatively Permission for Interlocutory Appeal. Order to enter.
                              Attorney Appearances: Plaintiff- Jewellean Moore (pro se); Defense - Monica Rey
                              Bailey.(Court Reporter: Digital File)(No exhibits) Time in Court - :12.(mcrd)(Entered:
                              04/18/2017)

  04/18/2017               46 ORDER SETTING IN-PERSON HEARING REGARDING REQUEST TO

https://ecttxnd.uscourts.g ov/cg i-bin/DktRpt.pl?186942842499543-L 1_0-1                                               7/8
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4/28/2017Case     3:16-cv-03362-M-BN Document 52District
                                                   Filed     04/28/17
                                                         Version 6.1.1                   Page 32 of 62 PageID 528
                                  APPOINT GUARDIAN AD LIIEM AND STAYING DISCOVERY:Motion Hearing
                                  set for 5/2/2017 02:00 PM before Magistrate Judge David L. Horan re:44 MOTION
                                 for Appointment ofGuardian Ad Litem. The Court STAYS all discovery obligations until
                                  the Court rules on the request for a guardian an litem. And the Court WARNS the parties
                                  that the failure to appear in person on May 2, 2017 will subject a party to sanctions,
                                  including dismissal ofthis action for failure to prosecute and obey orders ofthe Court.
                                 (Ordered by Magistrate Judge David L. Horan on 4/18/2017)(mcrd)(Entered:
                                 04/19/2017)
  04/18/2017               47 ***DISREGARD,FILED IN INCORRECT CASE***ORDER SETTING
                              SEI ILENTENT CONFERENCE:Settlement Conference set for 5/4/2017 09:30 AM
                              before Magistrate Judge David L. Horan.(Ordered by Magistrate Judge David L. Horan
                              on 4/18/2017)(mcrd) Modified on 4/19/2017 (mcrd).(Entered:04/19/2017)

  04/18/2017               50 Correspondence to the Court filed by Arthur Carson for Jewellean Moore.(epm)
                             (Entered: 04/27/2017)

  04/19/2017                       ***Clerk's Notice ofdelivery:(see NEF for details) Docket No:46. Wed Apr 19
                                   08:52:18 CDT 2017 (crt)(Entered:04/19/2017)

  04/24/2017               48 NOTICE ofDefendant's Position regarding Plaintiffs Motionfor Leave to Amend
                              filed by CrescentMedical Center (Schell, Russell)(Entered:04/24/2017)

  04/27/2017               49 MOTION for Default Judgment against Crescent Medical Center, Emanuel Rafael and
                              Stay ofthe In-Person Guardian Ad Litem Hearing/Pending De Novo Review filed by
                              Jewellean Moore.(epm)(Entered:04/27/2017)



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                                    Description:         Docket Report                       3:16-cv-03362-M-BN
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  Case 3:16-cv-03362-M-BN Document 52 Filed 04/28/17                                        Page 33 of 62 PageID 529
    Case 3:16-cv-03362-M-BN Document 44 Filed 04/17/17                                       Page 3 of 5 PagelD 472



                                                                 Links Paratransit Service
4      4:1
                   PARATRANSIT
             A4114/°°             °Ii
              SERVICE OF CENTRAL Ar:RANSIT AUTHORITY
                                                             Physician Verification of Disability
                                                                           Form

Date            i it        014
                                                                                     ***Please Note***
                                                                        This form must be filled out in its entirety.
Patient Name Ploo5(e,                                   e0 vt.
                                                                        Incomplete forms will not be processed and
DOB            °4 031                                                   will be returned to the patient.


The person named above is ❑ currently being treated or El was formerly treated by me. The
person has informed me of his/her intent to apply for Central Arkansas TransitAuthority(CATA)
Links service. The information provided in this form is intended to verify any medical/health con-
ditions that prevent the applicant from using CATA's fixed route bus service.

Please Check One:
                                                                    Licensed HealthCareProvider
                                                                    Licensed Rehab/Social Worker
                                                                    Orientation Mobility Specialist

 Medical diagnosis and explanation of condition causing disability.
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 Disability Status (Select One):
       :1 1Patient will be temporarily disabled for                              months.
       L1)atient is considered permanently disabled.

 Does the disability prevent the applicant from utilizing the CATA fixed route services (regular bus
 service)? If yes, please describe in detail.
                                                                                                                            a
                                                                                                                              Ark4fA 0 n




                                                                                                                        Page 8 of 9
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Can the applicant walk or wheelz/4 mile(3 blocks) without the assistance of another person?
DYes     Ca-No


Can the applicant climb three 10-inch steps with assistance? ®Yes


Can the applicant wait outside without support for 15 minutes? DYes          DNo


Is the applicant on dialysis? DYes      LICio

Does the applicant have a hearing impanment? ®Yes            DNo

Is the applicant able to recognize a destination or landmark? DYes         LiNo


Is the applicant able to give addresses and phone numbers upon request? LrYes        DNo


Is the applicant able to deal with unexpected situations or unexpected changes
in routine? DYes        DlCio

Is the applicant able to ask for, understand, and follow directions? DYes      DNo

Is the applicant able to safely and effectively travel alone through crowded and/or complex
facilities? DYes       DNo

Does the applicant require a personal care attendant? kEiYes       DNo

                                                                                                 is
Based upon my professional knowledge of the applicant, I certify that the preceding infon zation
true and correct.



      PA            Y            \NAN
Name (Please Print)                                          Office Phone Number

                         p     vt               17)    k)ti Ld   tO)ek__    A
                         1                            City                  State       2ZipC)Code
                                                                                        '
Office Street Address


State License Number(Complete if Applicable - MUST BE CURRENT)




Signature:

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                  Transcript of the Testimony of

                           Jewellean Moore
                             Date: March 10, 2017



           Case: Jewellean Moore v. Lancaster Regional Hospital




                                            Bushman Court Reporting
                                                           Crystal Garrison, CCR
                                                             Phone: (501) 372-5115
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              IN THE UNITED STATES DISTRICT COURT                   1                         INDEX
              FOR THE NORTHERN DISTRICT OF TEXAS                    2                                         PAGE
                   DALLAS DIVISION
         JEWELLEAN MOORE        )PLAINTIFF                          3    JEWELLEAN MOORE
                                                                           Examination by Ms. Bailey                          4
         VS.           )No. 3:16-CV-03362-M-BN                      4

         LANCASTER REGIONAL       )                                 5    Reporter's Certificate                         48
         HOSPITAL, L.P. d/b/a  )                                    6
         CRESCENT MEDICAL CENTER )                                  7
         LANCASTER            )DEFENDANT.
                                                                     8
                                                                     9
                                                                    10                       EXHIBIT INDEX
                VIDEOTAPED DEPOSITION OF
                                                                    11   NO. DESCRIPTION                                    PAGE
                  JEWELLEAN MOORE                                   12   1 Deposition Notice, 2 pages                        5
                                                                    13   2 5/6/16 Medical Record, 2 pages                      40
                   MARCH 10, 2017
                                                                    14   3 Blood draw lab Results, 2 pages                    40
                                                                    15   4 Urinalysis results, 1 page                      41
                                                                    16
            VIDEOTAPED DEPOSITION OF JEWELLEAN MOORE,produced
         as a witness at the instance ofthe Defendants, and duly    17
         sworn, was taken in the above-styled and numbered cause    18
         on March 10, 2017, from 1:53 p.m. to 2:56p.m., before
                                                                    19
         Crystal Garrison, Certified Court Reporter, in and for
         the State of Arkansas, reported by machine shorthand, at   20
         the offices of Bushman Court Reporting,620 West Third      21
         Street, Suite 302, Little Rock, Arkansas, pursuant to
                                                                    22
         the Federal Rules of Civil Procedure.
                                                                    23
                                                                    24
                                                                    25



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     1                 APPEARANCES                                   1      VIDEOGRAPHER: We are on the record at 1:53 p.m. on
     2                                                               2   March 10th, 2017. This is Mike Tscheimer, Legal Video
     3     ATTORNEY FOR THE DEFENDANT:                               3   Specialist. We're at Bushman Court Reporting,620 West
     4       MS. MONICA REY BAILEY                                   4   Third Street in Little Rock, Arkansas, to take the
             Schell Cooley, LLP
                                                                     5   deposition of Jewellean Moore in the matter ofJevvellean
     5       15455 Dallas Parkway, Suite 550
             Addison, Texas 75252                                    6   Moore versus Crescent Medical Center Lancaster, United
     6       214-665-2000                                            7   States District Court, Case No, 3:16CV03362M-BN.
             m bailey@schellcooley.com                               8      The court reporter is Crystal Garrison. Will
     7
                                                                     9   counsel please state your appearance for the record.
     8
                                                                    10      MS. BAILEY: Monica Bailey, Schell Cooley Law Firm
           ALSO PRESENT:
     9                                                              11   in Dallas.
               MR. ARTHUR CARSON                                    12       VIDEOGRAPHER: Madame Reporter, will you please
    10                                                              13   swear in the witness.
    11                                                              14               (Witness sworn.)
    12
                                                                    15       VIDEOGRAPHER: Thank you. Please proceed.
    13
    14                                                              16                JEWELLEAN MOORE,
    15                                                              17   having been first duly sworn,testified as follows:
    16                                                              18                 EXAMINATION
    17
                                                                    19   QUESTIONS BY MS.BAILEY:
    18
    19                                                              20   Q. Good afternoon, Ms. Moore. Thank you for being
    20                                                              21   here. Would you state your name for the record and
    21                                                              22   spell it, please?
    22                                                              23   A. Jewellean Moore,J-E-W-E-L-L-E-A-N, Moore,
    23
                                                                    24   M-O-O-R-E.
    24
    25                                                              25   Q. Very good. Ms. Moore, before we get started, I just


                                                                                                1 (Pages 1 to 4)
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     1    want to show you the deposition notice,just to make         1      client. Okay?
     2    sure that we are all on the same page as to why you're      2      A. Yes, ma'am.
     3    being deposed here today and that you did receive that      3      Q. Have you reviewed any documents to prepare for this
     4    notice. Do you recognize it, Ms. Moore?                     4      deposition today?
     5       Do you recognize that, Ms. Moore?                        5      A. I don't...
     6    A. Uh-huh.                                                  6      Q. Have you looked at any of your medical records or
     7    Q. Okay. Very good.                                         7      any other documents or papers to -- to prepare for what
     8       MS. BAILEY: Exhibit 1 -- if you don't mind handing       8      you're going to talk about today?
     9    that to the court reporter or back to me. Thank you         9      A. Yes.
    10    very much.                                                 10      Q. Can you tell me what those were?
    11        (Exhibit No. 1 marked for identification.)             11      A. Well,some of them was about if I was a criminal.
    12    Q. (BY MS. BAILEY) Ms. Moore, we'll just do a few          12      Q. If you don't mind,just look at me, if you would,
    13    housekeeping things before we get going here. Just a       13      because Mr. Carson can't help you answer your questions.
    14    reminder, as you know you're under oath and it's just      14      So, did you look at any medical records to remind
    15    like you're talking in front ofthe judge and jury.         15      yourself of any of the events of May 6th or — to May
    16    Okay? So, we'll be making a record ofthe entire            16       11th of2016?
    17    proceeding.                                                17      A. Yes. But I don't -- I -- I done forgot most of it.
    18       If at any time you need to take a break, you just       18      Q. Okay. That's all right. Did you look at any other
    19    say I need to take a break, we'll go offthe record,        19      papers to help you kind of think through what your
    20    take as long as you need and then when we come back,       20      answers were going to be today?
    21    we're back on the record. Okay? So, the length ofthe       21      A. Yes.
    22    deposition time that we'll have is up to -- well, the      22      Q. Do you remember what any of that was? Would you say
    23    rules say seven hours, but we agree to six.                23      were looking at maybe a background check or some kind of
    24       And that's up to six hours on the record. Okay?         24      records; is that what you were saying?
    25    So, any breaks you take will be taken offthat time and     25      A. Yes.


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     1    we'll have to keep going to make up that six hours, if      1      Q. Okay. Do you remember what kind ofrecords?
     2    we go that long. Okay? Do you understand?                   2      A. (No response.)
     3    A. Uh-huh.                                                  3      Q. That's okay. If you don't remember, we'll move on.
     4    Q. Okay. And if you would, please say yes or no             4      I was just wondering if you were looking at anything
     5    clearly so the court reporter can type it down.             5      specific pertaining to this case. We'll move on. Have
     6    A. Yes.                                                     6      you spoken with anyone to prepare for this deposition
     7    Q. Thank you. Ms. Moore, are you on any medications         7      today?
     8    today that would affect your ability to recall or           8      A. Only Mr. Carson.
     9    respond to my questions?                                    9      Q. Okay. Mr. Carson. And have you ever been deposed
    10    A. No.                                                     10      before?
    11    Q. Okay. If you don't understand any question that I       11      A. Been what?
    12    ask, you have the right to a clear question, so you just   12      Q. Have you ever been in a situation like this where
    13    ask me please restate that or I don't know what you're     13      you have to answer questions to an attorney with a court
    14    saying, anything like that's fine, and I'll -- I'll        14      reporter and under oath?
    15    restate what I'm saying. Okay?                             15      A. No.
    16    A. Yes, ma'am.                                             16      Q. Okay, So, this is your first deposition? Okay.
    17    Q. And you can do that any time if you don't understand    17      Have you ever been the subject of a lawsuit? Has anyone
    18    what I'm asking you. Ms. Moore, because this is a          18       ever sued you?
    19    medical malpractice claim, a lot of the questions I'm      19       A. No.
    20    going asking you are necessarily personal, and they're     20       Q. You've never been named in any kind oflawsuit?
    21    questions about your medical history and personal          21       A. No.
    22    history. That's -- those are the kinds of questions        22       Q. Okay. Did you make any type of notes or keep any
    23    that you can expect.                                       23       kind of personal diary of what the events from May 6 to
    24        I'm not here to harass you or embarrass you, those     24       May 11, 2016,like, when you were at the hospital at
    25    are the kinds of questions I need to ask to defend my      25       Crescent Medical Center, for example, did you write down


                                                                                                   2 (Pages 5 to 8)
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    1    anything you were feeling or afterwards?                      1       A. Yes.
    2    A. No.                                                        2       Q. Do you know about how long after you were discharged
    3    Q. Okay. Are you aware of any kind of recordings like         3       from Baylor University Hospital that you moved back to
    4    that? Did somebody else perhaps write down things that        4       Arkansas?
    5    were said or things that happened while you were at           5       A. I guess it would have been about eight months.
    6    Crescent Medical Center or after that time? After             6       Q. About eight months later?
    7    May -- excuse me, between May 6th and May 11th of 2016?       7       A. Yeah.
    8    A. No. Mr. Carson did a lot of my things because I            8       Q. Okay. So, after May 11th, you stayed in the Dallas
    9    wasn't at myself at the time.                                  9      area for about 8 months?
   10    Q. Okay.                                                      10      A. (Nodding head.)
   11    A. So, a lot of it, I don't remember.                         11      Q. And then, you returned back to Little Rock?
   12    Q. Okay. That's fine. Ms. Moore, state your date of           12      A. Yes.
   13    birth, please.                                                13      Q. Okay. What is your -- I know you're not working
   14    A. July the 3rd, 1955.                                        14      right now. What is your annual income from all of the
   15    Q. Okay. And where were you born, ma'am?                      15      different sources that you have?
   16    A. Dallas, Texas.                                             16      A. 735.
   17    Q. All right. And what is your occupation right now?          17      Q. $735?
   18    A. I don't have an occupation.                                18      A. Uh-huh.
   19    Q. Okay. Let's go back a few years. Have you ever had         19      Q. Monthly?
   20    an occupation or something that you've been trained to        20      A. (Nodding head.)
   21    do that you used to do for work?                              21      Q.  Okay. And what is the source of that income, Ms.
   22    A. It's been over 10/15 years ago.                            22      Moore?
   23    Q. Okay. And is there a reason why you're not                 23      A. What you mean?
   24    currently working?                                            24      Q. Is it Social Security benefits or how do you --
   25    A. Because I'm disabled.                                      25      how -- where is that money coming from?


                                                       Page 10                                                                Page 12

    1    Q. Okay. And how long have you had a disability,               1      A. I get SSI.
    2    ma'am, that has prevented you from working?                    2      Q. SSI?
    3    A. Five to ten years.                                          3      A. (Nodding head.)
    4    Q. About ten years?                                            4      Q. Are there any other benefits that you're receiving?
    5    A. (Nodding head.)                                             5       A. No.
    6    Q. Okay. Do you have any children, Ms. Moore?                  6      Q. It's all Social Security income?
    7    A. I have three.                                               7      A. (Nodding head.)
    8    Q. You do? And what are their ages?                            8      Q. Okay. And so, before you -- you were admitted --
    9    A. I got some twins, they 20 -- I mean, they 30. And I         9      or, I'm sorry -- you presented to Crescent Medical
   10    got a son 44,                                                 10      Center on May 6th, 2016. Where were you living at that
   11    Q. Okay. And do they live here in Arkansas?                   11       time in the Dallas area?
   12    A. No.                                                        12       A. I was living in Mesquite.
   13    Q. Do they live in the Dallas area?                           13       Q. Mesquite? And how long had you been living there?
   14    A. Yes.                                                       14       A.   I can't remember exact date.
   15    Q. All three of your children?                                15       Q.   Okay. Months? Years? Do you know?
   16    A. Yes.                                                       16       A.   It was some months.
   17    Q. Okay. And how long have you been residing at your          17       Q.   Several months?
    18   current address in Little Rock?                               18       A. (Nodding head.)
    19   A. I've been here about five or six months. But I             19       Q. Before you were in Mesquite, were you in Little Rock
    20    lived here before and I moved.                               20       again?
    21    Q. You lived here before. And we'll go through that.         21       A. Yes,I think I was.
    22    So, we'll walk through that here in a bit. But you had       22       Q. Okay. So, youlived some months in Mesquite and
    23    been living at Dallas or the Dallas area and then you've     23       before you lived in Mesquite -- where did you live
    24    returned back to Arkansas after you were at Crescent         24       before you moved to Mesquite?
    25    Medical Center in Baylor University?                         25       A. I lived here for five years, then I moved.


                                                                                                         (Pages 9 to 12)
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    1    Q. Okay. So, you were in Little Rock area about five          1      A. No.
    2    year, moved to Mesquite for several months, moved back         2     Q. Okay. Has anyone that you've spoken to been
    3    to the Little Rock area?                                       3     critical of the care at Crescent Medical Center?
    4    A. (Nodding head.)                                             4     A. No.
    5    Q. Okay. Very good. Thank you. What brought you to             5     Q. Okay. I'm going to shift focus a little bit. I
    6    Texas after being here five years?                             6     want to talk about some of these -- some of the lawsuits
    7    A. Well,I -- I thought I wanted to go back, but things         7     that you are named in as a plaintiff, if you don't mind.
    8    wasn't right, so I just moved back down here.                  8     Just one in particular, I think there's a lawsuit filed
    9    Q. Okay, What do you mean things weren't right?                9     April 21st, 2016, with Real Page or versus Real Page,
   10    A. The housing wasn't -- wasn't proper right. And I           10     Jewellean Moore and Arthur Carson versus Realpage.com.
   11    was trying to get a house there, but things didn't work       11         Let me show you a copy of that to refresh your
   12    out, so I moved back down here.                               12     memory. Do you remember filing that lawsuit?
   13    Q. Okay. Were you residing with any of your children          13     A. I kind of remember some of it, but not much of it.
   14    during any of that time?                                      14     Q. Okay. Did you -- did you write the claims in this
   15    A. Yes. I -- I was down there where my kids was. Then         15     lawsuit?
   16    I moved back, though.                                         16     A. No.
   17    Q. Okay. So, you tried to find a housing situation to         17     Q. No? Did somebody else write the lawsuit with you or
   18    stay in that area and it end up -- it didn't work out?        18     for you?
   19    A. No.                                                        19     A. Mr.Carson helped me out with a lot of thingsthat I
   20    Q. Okay. Are any family members of yours healthcare           20     don't understand.
   21    professionals, nurses, doctors, nurse tech, lab tech,         21     Q. Okay. So, Mr. Carson wrote the lawsuit?
   22    anything like that?                                           22     A. (Nodding head.)
   23    A. Well, my daughter is going to be -- trying to be a         23     Q. Did he file the lawsuit as well or did you file it?
   24    nurse.                                                        24     A. He filed it for me.
   25    Q. Oh,that's good. Good for her. Is she currently             25     Q. Okay. Do you -- is this case still active? Is it


                                                      Page 14                                                                Page 16

    1    working in the medical profession?                             1      still in the courts?
    2    A. Well,she's in school right now.                             2      A. I'm not for sure.
    3    Q, Do you know if she's in school to be an LVN or a            3      Q. Okay. So, you don't know ifthis case has settled
    4    registered nurse?                                              4      or been dismissed?           ,
    5    A. I think it's LVN.                                           5      A. No.
    6    Q. Okay. Is she working at any hospitals or medical            6      Q. Okay.
    7    facilities in the Dallas area?                                 7      A. I don't remember.
    8    A. Well,she's not just say working. But she goes               8      Q. You don't remember?
    9    there and do different things until she get -- get             9      A. (Shaking head.)
   10    stable where she can go to work.                              10      Q. Okay. I think if it's the same case, were a couple
   11    Q. Right. Do you know what facility she -- she either         11      filings in this matter. Give me a moment, I'm sorry.
   12    interns at or practices at?                                   12      Okay. Do you recognize this, Ms. Moore? You ever seen
   13    A. Well, sometimes she practice at Parkland and then          13      that document before?
   14    sometimes she goes to -- I think it's -- I can't think        14      A. Yes,I remember this.
   15    of all the places she goes. She goes to different             15      Q. Okay. And do you know what this document is? Do
   16    hospitals. She goes to Richardson sometimes.                  16      you understand what a Stipulation of Dismissal is?
   17    Q. Okay. Richardson Methodist?                                17      A. No.
   18    A. Yeah.                                                      18      Q. Okay. This stipulation -- so, it means that the --
   19    Q. Okay. Have you spoken to any medical professionals         19      the case is over in front of the federal court. And it
   20    about this case?                                              20      states that you all have reached a settlement. Did you
   21    A. No.                                                        21      sign a confidentiality agreement regarding any
   22    Q. Have you spoken to your daughter about this case?          22      settlement with Los Lomas Associates, Brisa Hernandez
   23     A. (Shaking head.)                                           23      and RealPage, Incorporated?
   24     Q. Okay. So, your daughter's not aware of-- has she          24      A. I don't remember.
   25     viewed your medical records?                                 25      Q. You don't remember signing a confidentiality


                                                                                                4 (Pages 13 to 16)
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    1    agreement?                                                   1       A. No.
    2    A. No.                                                       2       Q. Okay. So, you've already stated you lived in Texas
    3    Q. Do you know ifsomeone else signed a confidentiality       3       when you filed the suit April 21st. You stated you
    4    agreement? If Mr. Carson signed a confidentiality            4       lived in Mesquite. Do you recall the address that you
    5    agreement?                                                   5       lived at?
    6    A. You have to ask him because I don't remember.             6       A. No,I don't remember.
    7    Q. Okay. Do you recall what the settlement was in this       7       Q. Okay. Do you have any other active lawsuits at this
    8    case?                                                        8       time in which you're a plaintiff?
    9       MR. CARSON: That's part of the confidentiality,           9       A. No.
   10    don't even go into that.                                     10      Q. Okay. All right. Let's talk about your medical
   11       MS. BAILEY: Okay. Mr. Carson, you can't speak on          11      history, okay? Now, according to your medical records,
   12    the record, okay?                                            12      when you presented at Crescent Medical Center -- and I'm
   13       MR. CARSON: I understand that. However, because of        13      sure you already know this -- you had diabetes. Can you
   14    her situation -- we're going to put this on the record.      14      tell me about when you remember that you were diagnosed
   15    See, right now, what your -- you're trying to harass,        15      with diabetes?
   16    annoy her. It's certain things she don't have a memory       16      A. It's been about 10/11 years ago.
   17    of And that is the issue. That's the issue in this           17      Q. Okay. And do you take insulin for your diabetes?
   18    case.                                                        18      A. Yes.
   19        MS. BAILEY: Okay. Then it's possible that you may        19      Q. Okay. You take injections?
   20    need to do some kind of hearing to adjudicate that. But      20      A. Uh-huh.
   21    at this time, if she doesn't remember, that's fine.          21      Q. Every day?
   22    I'll move on.                                                22      A. Yes.
   23         MR. CARSON: What -- a continuation. I'm going to        23      Q. Okay. Do you take any other medications for your
   24    advise her she may need to terminate these depositions.      24      diabetes?
   25         MS. BAILEY: Okay. You can't advise her of that.         25      A. No. It's just insulin and my blood pressure


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    1    She has to make that determination on her own.                1      medication.
    2         MR. CARSON: Yes, I understand.                           2      Q. Okay. So, you take -- when did you get diagnosed
    3    Q. (BY MS.BAILEY) Now,Ms. Moore, what you need to             3      with hypertension or high blood pressure?
    4    understand is: If you terminate this deposition -- now,       4      A. I guess about around the same time I was about my
    5    I'll move on. If you don't remember, you don't                5      diabetes.
    6    remember, and I'm going to move on. Okay?                     6      Q. About 10 or 11 years ago?
    7         But I need to keep asking certain questions and if       7      A. (Nodding head.)
    8    you don't remember, I'll go to another one. Okay? But         8      Q. So, have you been taking hypertension medication and
    9    if we do terminate this hearing right now, we'll --           9      insulin every day?
   10    we'll file a motion and we'll resume in -- in Dallas.        10      A. Uh-huh.
   11    Okay?                                                        11      Q. More or less, for the last 10 or 11 years?
   12       So, its -- let's just keep going. If you don't            12       A. Uh-huh.
   13    remember, you don't remember.                                13       Q. Okay. And for your hypertension medication, what
   14       MS. BAILEY: Mr. Carson, you cannot speak on the           14       are you currently taking for that now?
   15    record again. Okay?                                          15       A. Nepripene (phonetic.)
   16    Q. (BY MS.BAILEY) All right. So, you don't remember          16       Q. Is that a medication you need to take every day?
   17    any settle agreement and it's possible somebody signed a     17       A. Uh-huh.
    18   confidential agreement. And that's fine. We'll move          18       Q. More than once a day?
    19   on. Okay?                                                    19       A. No,just once a day.
    20      I can ask you and I will ask you: If you had              20       Q. Okay. Do you ever have to take it more than once a
    21   settlement funds, do you have any of those settlement        21       day? Are you allowed to take it more than once a day if
    22   funds left?                                                  22       you need it?
    23   A. I don't have anything.                                    23       A. No.
    24   Q. Okay. Have you received settlements in any other          24       Q. Okay. Once a day? Are there any other medications
    25   lawsuits or from any other lawsuits?                         25       you take for high blood pressure?


                                                                                                5 (Pages 17 to 20)
                                                        Crystal Garrison, CCR
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    1    A. Here's all my medications.                                 1       A. Yes. It's been a while back.
    2    Q. Okay. I'll ask you about those. Ms. Moore, have            2       Q. What did you have? Do you remember?
    3    you had any heart attacks?                                    3       A.- It was a bladder infection.
    4    A. No.                                                        4       Q. Okay. You ever had staph infection?
    5    Q. Okay. Any strokes?                                         5       A. I think that's what they called it. I'm not for
    6    A. I had a stroke about 15 years ago.                         6       sure.
    7    Q. 15 years ago. Were you in the hospital for that?           7       Q. Okay. Do you remember if you had to be hospitalized
    8    A. No. They just -- well, I might have stayed two,            8       for that?
    9    three days, then I got out.                                   9       A. Oh, no.
   10    Q. Whereabouts in the country were you living when you        10      Q. Okay. Have you ever presented -- apart from May
   11    had a stroke?                                                 11      6th, when you went to Crescent Medical Center, and May
   12    A. In Dallas.                                                 12      7th, when you were at Baylor Scott & White, have you
   13    Q. In Dallas. Do you remember what hospital you were          13      ever been to an emergency room before?
   14    at?                                                           14      A. Yes.
   15    A. At -- I can't remember what hospital.                      15      Q. Do you remember which ones? Let's talk about one
   16    Q. Okay. That's okay. Let me go through your                  16      you remember. What's one time you remember? Where did
   17    medication. Thank you for bringing me this, because           17      you go and what did you go for?
   18    it's a lot of big words and its a lot to go through.          18      A. I went to -- the last I remember,I went to Baylor.
   19    Ribir -- ribavirin -- sorry, I'm probably not going to        19      That's the last one.
   20    say these right. Now, what is the ribavirin for?              20      Q. Okay. Do you remember why you went to the emergency
   21    A. That was for hepatitis. I don't have that anymore.         21      room in --
   22    Q. Okay. These aren't -- these aren't current                 22      A. Because I was having bad headaches and things.
   23    medications that you're taking?                               23      Q. Okay. Is this the same time that we're talking
   24    A. Well, the others are, but that's not.                      24      about from May 6th to May 11th, 2016?
   25    Q. Okay. All right. We'll stick with what you're              25      A. Uh-huh.


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    1    currently taking. So, you've got the nepripene. for            1      Q. Do you recall any other visits to an emergency room
    2    hypertension. We have the insulin daily?                       2      besides when you were in Texas that time? Have you been
    3    A. Uh-huh.                                                     3      to an emergency room in Arkansas? Have you had to do a
    4    Q. And then, what are the other medications you're             4      visit in Little Rock or anywhere near Little Rock?
    5    currently taking?                                              5      A. Huh-uh.
    6    A. That's all I take, my insulin and my diabetes               6      Q. Okay. Are you currently under the care of a
    7    medicine.                                                      7      physician?
    8    Q. Uh-huh. Okay. And you don't need to take any other          8      A. Yes.
    9    -- do you take pain medication?                                9      Q. You have regular doctor appointments?
   10    A. No.                                                        10      A. Uh-huh.
   11    Q. Okay. Have you had any surgeries?                          11      Q. Okay. Can you tell me the name of your physician,
   12    A. It's been some years.                                      12      please?
   13    Q. Okay. What surgery did you have when you had a             13      A. Dr. Deepa.
   14    surgery?                                                      14      Q. Can you spell that for me?
   15    A. I had -- I had a hernia --                                 15      A. It's D-E-E-P-A. I think it is.
    16   Q. Okay.                                                      16      Q. Okay. And where is this doctor?
    17   A. -- repaired. And then I had my kids; I had                 17      A. At UM -- UMAS (sic) Medical Center.
    18   C-sections.                                                   18      Q. Is that in Little Rock?
    19   Q. Okay. Have you had any -- apart from your                  19      A. Uh-huh.
    20   hospitalization in -- at Baylor University Medical            20      Q. Okay. And what do you see Dr. Deepa for?
    21    Center where they diagnosed you with sepsis, have you        21      A. Just for like, checkups and things. And make sure I
    22   ever had sepsis before?                                       22      don't have anything wrong with me.
    23   A. No. That was the first time I had it.                      23      Q. Okay. How often do you see Dr. Deepa?
    24   Q. Have you ever had any kind ofsevere bacterial              24      A. Well, maybe once a month or twice a month, according
    25    infections?                                                  25      to how I feel.


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    1    Q. Okay. And when you're not feeling well, what are           1       Q. Okay. And then, when you moved to Texas, did you
    2    the symptoms that take you to Dr. Deepa's office?             2       reenroll and apply again for Medicaid in Texas?
    3    A. Like,if I'm having a headache or something or I            3       A. Yes.
    4    need to get my prescription refilled, something like          4       Q. Okay. Do you remember how you reenrolled for
    5    that.                                                         5       Medicaid in Texas when you moved?
    6    Q. Okay. Are you receiving any kind ofhome visits for         6       A. Well, I think it was from the doctors here that
    7    any reason?                                                   7       helped me get it back started.
    8    A. No.                                                        8       Q. Okay. And do you remember how long it took after
    9    Q. Okay. Do you go to physical therapy for any reason?         9      you moved from Little Rock and then you were in the
   10    A. Well, they still hadn't got my -- my hospital              10      Mesquite area, do you remember how long it took for your
   11    records from Dallas, so,I haven't started to. But I'm         11      Medicaid benefits to start back again?
   12    getting ready to go.                                          12      A. No.
   13    Q. Okay. And what -- what do you -- has a medical             13      Q. Do you remember if it was one month or two months?
   14    professional told you that you need physical therapy?         14      A. It might have been a month or two. I don't know. I
   15     A. (Nodding head.)                                           15      don't remember.
   16     Q. Okay. For what? Can you tell me what it's for?            16      Q. Okay. Does Medicaid pay for your prescriptions?
   17     A. For that cell feel -- I can't say it.                     17      A. Yes.
   18     Q. And how about if you just tell me like, is it for         18      Q. When you have Medicaid,for example, here in
   19     speech therapy or walking or, you know, muscles?             19      Arkansas, how much does your hypertension medication
   20     What -- do you know what the -- what -- what they're         20      cost; do you know?
   21     trying to help you with, with the physical therapy?          21      A. No.
   22     A. Well, some of it's for my memory,different things         22      Q. Is it free on the plan?
   23     like that.                                                   23      A. Yeah.
   24     Q. Okay. And when you say "they," where -- where are         24      Q. It's free?
   25     you planning on having your physical therapy?                25      A. (Nodding head.)


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    1    A. At the hospital where I go to.                              1      Q. So, your hypertension medication is free. And
    2    Q. Under Dr. Deepa's care?                                     2      your insulin, is it free on the plan?
    3    A. Uh-huh.                                                     3      A. Well,sometimes I might have $2 co-pay or something
    4    Q. Okay. And you're still awaiting the records from            4      like that. Other than that, no.
    5    Baylor University Hospital --                                  5      Q. Okay. Now, when you moved to Texas -- and I
    6    A. Uh-huh.                                                     6      understand you have to reenroll in Medicaid and it can
    7    Q. -- from your visit from May 7th to May 11th of last         7      take several days, up to two or three months. Were you
    8    year?                                                          8      in Texas long enough to start back up on your Medicaid
    9    A. Uh-huh.                                                     9      benefits?
   10    Q. Okay. Remember to say yes, if you can.                     10      A. No.
   11    A. Yes, ma'am.                                                11      Q. You never received Medicaid benefits when you were
   12    Q. Thank you. Tell me about Medicaid, when did you            12      in Texas?
   13    first enroll in Medicaid?                                     13      A. No. They just -- I could go to the doctor and
   14     A. I can't remember exactly.                                 14      they'd just check me. Like,sometime you don't have
    15    Q. Okay. Years?                                              15      money or Medicaid,they'll check you out --
    16    A. It's maybe about a year or two.                           16      Q. Okay.
    17    Q. About a year or two? Okay. And so, what states            17      A. Different things.
    18    have you received Medicaid benefits?                         18      Q. Okay. Were you -- strike that. I'll come back.
    19    A. In Texas and then here.                                   19      Tell me a little bit about before May 6th, 2016, and you
    20    Q. Okay. Before you moved to Texas when you were there       20      were living in Texas with your family looking for a
    21    in May, before that, when you were in Arkansas, were you     21      place. Tell me what kinds of things you liked to do and
    22    receiving Medicaid benefits?                                 22      what kinds of activities you -- you would do with your
    23    A. Yes.                                                      23      family and friends.
    24    Q. That was your healthcare, Medicaid?                       24      A. Well,I didn't be around my family too much. But
    25    A. Uh-huh.                                                   25      sometimes I would see them.


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    1    Q. Okay. Did you go out to eat or go to church or?              1    does someone else take it for you?
    2    A. No.                                                          2    A. No. Sometimes I take it if I don't forget to take
    3    Q. No activities like that?                                     3    it.
    4    A. Huh-uh.                                                      4    Q. Okay, Can you tell when you -- when your blood
    5    Q. Go walking, go to the park, anything that you like           5    pressure is getting high or low; do you feel a certain
    6    to do with Mr. Carson on a date or anything?                    6    way?
    7    A. Sometimes we might go to the park or something like          7    A. I kind of feel kind of lightheaded.
    8    that.                                                            8   Q. Okay. So, how were you feeling -- I know that on
    9    Q. Okay. When it wasn't too hot?                                 9   May 6th, we're going to talk about the symptoms you
   10    A. Yeah. Or it wasn't too cold.                                 10   presented with at Crescent Medical Center. But if you
   11    Q. Very hot in Texas; isn't it? Your daily physical             11   can think about what you were doing the day before or
   12    activity, what kinds ofthings did you do around the             12   how you were feeling a couple days before, were you --
   13    house?                                                          13   did you have a cough?
   14    A. Well, mostly I like to make quilts and stuff and             14   A. I don't -- I don't remember how I got sick. I just
   15    things like that.                                               15   know I got sick.
   16    Q. Uh-huh. My grand -- or my mother-in-law makes                16   Q. Okay. You don't remember having a cough or a cold
   17    quilts. So, you like quilting?                                  17   or any pain anywhere else in your body before you got to
   18    A. Uh-huh.                                                      18   Crescent Medical Center?
   19    Q. You go to the fabric store and get extra scraps and          19   A. No more than I was having real bad headaches.
   20    things like that?                                               20   Q. Okay, Right. And we'll talk about that. Because I
   21    A. Sometimes.                                                   21   know that's what brought you to the -- to Crescent. Do
   22    Q. Okay. Do you go to the market. Are you able to               22   you remember when you arrived at Crescent Medical
   23    go -- were you able to go shopping to the grocery store?        23   Center?
   24    A. Uh-huh.                                                      24   A. No, because I was out of it. Mr.Carson took me.
   25    Q. Okay. On a daily basis, back before May 6th, did             25   Q. Okay. So, did you arrive there by car?


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    1    you need -- require a wheelchair to get around?                  1   A. Uh-huh.
    2    A. No.                                                           2   Q. Did you all park the car and then you walked in?
    3    Q. Okay. You were able to walk wherever you needed to            3   A. I don't remember because, like I say, I was out of
    4    go? Back and forth in the house or when you were in the          4   it. I don't remember too much of nothing.
    5    grocery store, you were able to walk down the aisle?             5   Q. Okay. Do you remember talking to anybody when you
    6    A. (Nodding head.)                                               6   walked into the hospital?
    7    Q. Okay. What about any medical treatments or                    7   A. No. Mr. Carson did all the talking for me.
    8    therapies before May 6th, were you taking any physical           8   Q. Okay. Did you go in -- I've been in the -- in
    9    therapy for anything when you were down in -- in Dallas          9   there. Did you go in and sit down in some chairs while
   10    before you went to the hospital the first time to               10   Mr. Carson went through the admissions process?
   11     Crescent Medical Center?                                       11   A. Uh-huh.
   12     A. Huh-uh.                                                     12   Q. Okay. So, you didn'tgo up to a desk or anything
   13     Q. You weren't under -- you weren't undergoing any kind        13   like that?
   14     of physical therapy?                                           14   A. (Shaking head.)
   15     A. (Shaking head.)                                             15   Q. You went and sat down?
   16     Q. Okay. Before you went to Crescent Medical Center --         16   A. (Nodding head.)
   17     and I'm talking about three or four or five months             17   Q. Okay. Were you given papers to sign?
   18     before then -- did you go to any other hospital for any        18   A. Yes.
   19     other reason while you were in Dallas?                         19   Q. Did you sign any of those papers?
   20     A. Huh-uh.                                                     20   A. No. Mr. Carson signed all of them for me.
   21     Q. Okay. Has your doctor talked to you about what a            21   Q. Okay. Did he explain to you or say anything to you
   22     healthy blood pressure reading should be, a healthy            22   about what was in the paperwork that he was signing on
   23     range for your blood pressure?                                 23   your behalf?
   24     A. He did, but I've forgotten.                                 24   A. I -- I don't remember. But I'm sure he did. But I
   25     Q. Okay, Do you take your blood pressure every day or          25   don't remember.


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    1    Q. Okay. Did he have your permission to sign for you?       1      to TMHP, which is --
    2    A. Uh-huh.                                                  2      A. What does that mean?
    3    Q. Okay. At that time, did you offer any insurance          3      Q. You know what, I had written it down and now I don't
    4    information when you were -- when you guys -- when you      4      have it. I think it's Texas Medicaid Healthcare
    5    were at Crescent Medical Center on May 6th, 2016?           5      Partnership. That's it: Texas Medicaid & Healthcare
    6    A. I don't remember.                                        6      Partnership.
    7    Q. Do you remember if you had any kind of Medicaid or       7      A. Hmm.
    8    any kind of coverage on that day when you went to the       8      Q. Okay?
    9    hospital?                                                   9      A. Huh-uh.
   10    A. I don't think I did. I don't remember.                  10      Q. Okay. If you don't remember, you don't remember,
   11    Q. Okay. Let me just quickly show you some admission       11      that's fine. I just wanted to ask you if you'd seen it
   12    paperwork. And I understand that you weren't able to       12      before. All right. Come on back this way. Do you
   13    sign or see them. Have you looked at your records since    13      remember how long you waited before someone checked you
   14    you were -- since you left Crescent Medical Center?        14      in or a nurse came to see you or take you back?
   15       Have you looked at any of your records from Crescent    15      A. No,I don't remember how long it was.
   16    Medical Center? Any of your own medical records from       16      Q. Okay. Do you remember any signage in the hospital
   17    your admission there or from the time you were presented   17      stating that doctors are independent contractors? Did
   18    there? What that is, Ms. Moore -- can you read the top     18      you see those signs anywhere?
   19    of it, the line there?                                     19      A. I don't remember.
   20    A. Where?                                                  20      Q. Okay. Do you have any independent memory about the
   21    Q. On the very top of the sheet.                           21      nurse that first saw you and took you back?
   22    A. Where it say Crescent Medical Center?                   22      A.   No.
   23    Q. Uh-huh. Does it say anything there about admission?     23      Q.   Do you remember that his name was Nurse Pierre?
   24    I tell you what'll be easier, here you go, I got one       24      A.   (Shaking head.)
   25    too. If you look down, Ms. Moore, it's teeny teeny         25      Q.   Okay. He was an African -- African-American man and


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    1    tiny, it's hard to see, but on the fourth line down         1       he took care of you for most of that day. His name was
    2    where it says Insurance Company and it's little teeny       2       Nurse Pierre.
    3    tiny, do you see where it says TMHP;can you see that?       3       A. Hmm.
    4    A. What you say, THMP?                                      4       Q. Do you remember if he asked you any questions?
    5    Q. TMHP.                                                    5       A. No.
    6    A. Oh, no.                                                  6       Q. You don't remember him asking you things like your
    7    Q. Do you see here? Here, it's -- if you look here--        7       name or how are you feeling or tell me what's wrong or
    8    I'm looking at the same thing you are. This kind of         8       anything like that?
    9    fourth block down?                                          9       A. I don't remember talking to him.
   10    A. Oh,okay. I see it.                                      10       Q. Okay. You don't remember him asking you any
   11    Q. Do you see that? And then, it says -- if you look       11       questions about your health history at all?
   12    at the next box, it says Contract or Group Number?         12       A. Like I say,I don't remember talking to him.
   13    A. Uh-huh.                                                 13       Q. Okay. Do you remember any lab work that was done
   14    Q, And there's a group number. Can you see those           14       that day? Do you remember having your blood drawn?
   15     numbers there?                                            15       A. No. I don't think they did that.
   16     A. Yeah.                                                  16       Q. You don't remember that? Do you remember -- do you
   17     Q. Can you read those out for me, please?                 17       remember having -- giving a urine sample?
   18     A. 258598301.                                             18       A. I'm not sure.
   19     Q. Yes, ma'am. Now,is that -- is that a Medicaid          19       Q. Okay. Do you remember if they -- did they put you
   20     group number?                                             2o       on a heart monitor?
   21     A. Uh-huh.                                                21       A. No. I don't remember.
   22     Q. And is that a Texas Medicaid group number?             22       Q. Okay. Do you remember if you were given any
   23     A. I'm not for sure.                                      23       injections that day, like, any shots for anything?
   24     Q. Okay. We'll move on. But you do see that where it      24       A. I need to stop for a minute. I'm --
   25     says Insurance Company,there is -- there is reference     25       Q. Okay. We can take a break.


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    1       MS. BAILEY: Off the record.                                 1       the headache has worsened in the last hour, and patient
    2       VIDEOGRAPHER: Okay. We're off the record at 2:32            2       became disoriented, and patient is now vomiting." And
    3    p.m.                                                           3       this was taken at 12:55. Okay?
    4              (Brief recess.)                                      4       A. Okay.
    5       VIDEOGRAPHER: We're back on the record at 2:42 p.m.         5       Q, "Patient states "her eyes feel like they are going
    6    Please proceed.                                                6       to burst open." Do you remember making that statement?
    7       MS. BAILEY: Okay. Thank you.                                7       A. I don't remember.
    8    Q. (BY MS. BAILEY) Ms. Moore, I just want to remind            8       Q. Okay. "And she states she has not been taking her
    9    you to please say yes or no. Because sometimes when we         9       hypertension medication." Do you remember making that
   10    do uh-huh and huh-uh, it's hard -- she can't tell what         10      statement?
   11    were saying. So,just for the record to be clear,               11      A. I don't remember telling them that.
   12    it'll help us out later.                                       12      Q. Okay. And then, the next batch down where it says
   13         Okay, Ms. Moore,I'm going to show you -- I                13      Constitutional/General, it's just the next line.
   14    understand that you had a headache when you were at            14      A. Okay.
   15    Crescent Medical Center and that it was difficult for          15      Q. "Patient reports nausea, vomiting, and denies fever,
   16    you to look at papers or anything like that.                   16      fatigue and changes in appetite or activity." And then,
   17         So, let's look at your History of Present Illness,        17      the next line down says: "Patient reports eye pain and
   18    okay? And this is when you were speaking with the              18      denies visual changes, hearing loss, nasal stuffiness,
   19    doctor. These are the kinds of things that he asked you        19      sore throat, discharge or drainage."
   20    about. And these would be statements that you made or          20         Do you remember having any of those or making any of
   21    that were recorded. Okay?                                      21      those statements?
   22       So, if we want to look at -- let's look at under            22      A. No. I don't remember that.
   23    Instructions. Do you see about halfway down the page           23      Q. Do you remember anybody asking you anything like
   24    where it says Instructions?                                    24      that?
   25    A. Uh-huh.                                                     25      A. No.


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    1     Q. Okay.                                                       1       Q. Okay.
    2     A. Oh, yes, ma'am.                                             2          MS. BAILEY: Mark that Exhibit 2.
    3     Q. Okay. Do you want to read to me what -- what it             3           (Exhibit No.2 marked for identification.)
    4     says there? And F60,just patient, that's you, Patient          4          MS. BAILEY: Thank you.
    5     presents. Do you mind reading that out loud, ma'am?            5       Q. (BY MS. BAILEY) Okay. And we'll move on. If you
    6     A. Wait a minute. Which one you say it was?                    6       don't mind me taking that. Thank you, Ms. Moore. And
    7     Q. Where it says Instructions, about halfway down the          7       we stated already, you don't remember having lab work
    8     page.                                                          8       done?
    9     A. Instructions. Instructions. Instructions. Oh,               9       A. No,I don't.
   10     where it say new -- new headache or something -- I            10       Q. Okay. So, would it surprise you if I told you that
   11     don't -- I don't -- I don't understand.                       11       you had your blood drawn?
   12     Q. Look here, look here in the middle, where it says          12       A. I did?
    13    Review ofSystems. And then, we'll go down to where it         13       Q. Yes, ma'am. They -- they did a blood draw on you.
   14     says Instructions.                                            14       You also had a urinalysis done with a microbial
   15     A. Oh.                                                        15       inspection, urinalysis. Let me show you here. This is
   16     Q. Do you see that?                                           16       your blood work showing that you did have your blood
   17     A. Oh,okay. I see it.                                         17       drawn. And those are the results.
   18     Q. Okay. Can you read that out loud for me?                   18       A. What are the results? I don't understand these.
   19     A. I'm going to just be honest, I can't read this.            19       Q. Well, I know. I'm not a doctor either. But it's
   20     Q. Okay. How about you follow along with me and I'll          20       just to show you that they did take your blood and run
   21     read it and you let me know if that sounds right to you.      21       some tests.
   22     A. Uh-huh.                                                    22       A. Hmm.
    23    Q. Okay? It says: "F60," which is they're referring           23       Q. Okay?
    24    to you,"presents to the ED accompanied by spouse. She         24         MS. BAILEY: I'll mark that Exhibit 3, please.
    25    has a headache that began today. The historian reports        25          (Exhibit No. 3 marked for identification.)


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    1        MS. BAILEY: Thank you.                                  1   This is the historian notes signed by Dr. Emmanuel.
    2    Q. (BY MS. BAILEY) And then, these are the results of       2   Q. (BY MS. BAILEY) Okay, Ms. Moore all right, let's
    3    your urinalysis. So, again, I -- I'm not showing it to      3   move on and let's talk about -- well, let me ask you
    4    you to show -- you know, to interpret it because I -- I     4   this: When you went to Crescent Medical Center, did you
    5    can't interpret it either. Butjust to show you that         5   believe you were having a medical emergency?
    6    they did do a urine sample and run that through their       6   A. What do you mean?
    7    automated system, through their equipment, and get those    7   Q. Did you -- were you going there for a regular visit
    8    results. Are you finished reviewing that?                   8   or were you going there because you felt like you were
    9    A. Uh-huh.                                                  9   in need ofemergency care?
   10       (Exhibit No.4 marked for identification.)               10   A. I went because I was having bad headaches.
   11    Q. (BY MS. BAILEY) Remember yes, please.                   11   Q. Okay. And had you tried to take some medication at
   12    A. Oh, yes.                                                12   home first?
   13    Q. Thank you very much. Ms. Moore, do you recall           13   A. No.
   14    having a CT scan of your head?                             14   Q. You didn't take any kind of--
   15    A. No,I don't remember that neither.                       15   A. I don't remember taking any.
   16    Q. They put you in a machine and they do a scan of your    16   Q. Okay. Do you remember taking your blood pressure
   17    brain, make sure you're not having a stroke; do you        17   before you came to Crescent Medical Center?
   18    recall having that test taken?                             18   A. No.
   19    A. No,I don't.                                             19   Q. On May 6, 2016, do you remember -- did you, or to
   20    Q. Okay. Let me show you the results of your CT scan,      20   your knowledge, Mr. Carson call any other doctor or
   21    to remind you that you had that done as well. Is that      21   healthcare provider to discuss your headache?
   22    your name on there as a patient, Ms. Moore?                22   A. I don't remember.
   23    A. Yes.                                                    23   Q. Okay. So, when you came to Crescent Medical Center,
   24    Q. Okay. Does that form describe you at the top? Does      24   you came because you had a severe headache?
   25    it have any identifying information at the top?            25   A. Uh-huh.


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    1    A. Like, what you mean?                                     1   Q. Were you worried about it?
    2    Q. Like, does it state your date of birth?                  2   A. Yes. Because I was -- it was hurting so bad,I
    3    A. Oh. Yes.                                                 3   couldn't hardly see.
    4    Q. Okay. Does it have your Social Security number or        4   Q. Right. And maybe that was your statement where you
    5    any other identifying information on it?                    5   said that you felt like your eyes were going to pop out
    6    A. I don't see nothing but my date of birth.                6   because there was so much pain. On a scale of 1 to 10,
    7    Q. Okay. And is that the correct date of birth?             7   do you remember what you would have thought your pain
    8    A. Uh-huh -- yes.                                           8    was?
    9    Q. Thank you, ma'am. I know, I do the same thing.           9    A. I would say 10.
   10    It's a habit I have, too. And I'm sorry, let me go back    10    Q. It was pretty bad?
   11    to this exhibit here because I needed to double check      11    A. (Nodding head.)
   12    that with you to make sure. This is the intake ofthe       12    Q. Okay. Do you -- did you go to Crescent Medical
   13    nurse and the doctor -- the -- excuse me, the doctor's     13    Center to have any of your medications refilled?
   14    evaluation. On the top of that sheet, does it have your    14    A. I don't remember.
   15     name?                                                     15    Q. Okay. Do you recall how long it had been since you
   16     A. Yes, it does.                                          16    had taken your last dose of hypertension medication
   17     Q. Where it says Crescent Medical Center and it says --   17    before you came to Crescent Medical Center?
   18     it has your name on there. Does it have your birth date   18    A. I think that morning. I'm not for sure.
   19     as well?                                                  19    Q. You took your medication that morning?
   20     A. Yes.                                                   20    A. I think I did. I'm not for sure.
   21     Q. And is thatthe correct birth date?                     21    Q. Okay. I need to find an exhibit if you'll give me
   22     A. Yes, it is.                                            22    just one moment, please. The records all look very
   23     Q. Okay. Thank you.                                       23    similar.
   24        MS. BAILEY: And for the record, this is the            24    A. Oh, you didn't give me my -- those papers with my
   25     Crescent Medical Center History ofPresent Illness.        25    medication on it back.


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    1    Q. Oh,I'm sorry. I thought it was an exhibit for the         1       A. I can't --
    2    record. But you may certainly have it back.                  2       Q. All right. But before you do, Ms. Moore, I just
    3    A. Okay. While you looking for that paper, I was             3       want to explain to you that we will seek a court order
    4    intending to tell you I had knee surgery two years           4       and you'll have to come to Dallas. Okay?
    5    compared to that. That's why I was hurting in my knee,       5       A. Okay.
    6    too.                                                         6       Q. All right. As long as you understand that?
    7    Q. Oh,okay. So, you had a knee surgery about two              7        THE WITNESS: Where my purse?
    8    years before you were at Crescent Medical Center in May?     8         VIDEOGRAPHER: We're ready to go offthe record?
    9    A. Uh-huh.                                                    9         MS. BAILEY: One moment.
   10    Q. Okay. Ms. Moore, I'm going to show you -- this is         10           (Ms. Moore gets up and leaves.)
   11    Crescent Medical Center, this is the triage. So,this         11         MS. BAILEY: Yeah, we're off the record. Thank you.
   12    was Marcus Pierre, this was the nurse who initially saw      12         VIDEOGRAPHER: Okay. This will complete the
   13    you.                                                         13      deposition. We're off the record at 2:56 p.m.
   14       And you know what, let's do this to make this             14

   15    easier: You stated you believed you had taken your           15

   16    hypertension medication that day. Can you read for me        16

   17    the outlined portion there on the record?                    17

   18    A. Where you've got it marked?                               18

   19    Q. Yes, ma'am.                                               19

   20    A. It say: Patient husband stated that they removed          20

   21    her and she had not been able to refill HTN --               21

   22    Q. That's hypertension.                                      22

   23    A. "Hy -- hypertension meds and had -- and have taken        23

   24    them in a month."                                            24

   25    Q. Does it say have or have not?                             25



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    1    A. Oh. Wait a minute. This say: Have taken them in a          1             REPORTER'S CERTIFICATION
                                                                       2          VIDEOTAPED DEPOSITION OF JEWELLEAN MOORE
    2    month or three -- I don't remember that one.
                                                                       3               MARCH 10, 2017
    3    Q. Okay. Well, you may not remember because it said
                                                                       4
    4    Mr. Carson stated that. So, you didn't -- according to
                                                                       5         I,CRYSTAL GARRISON, Certified Shorthand Reporter
    5    the --                                                        6      in and for the State of Arkansas, hereby certify to the
    6       MR. CARSON: Well, the accuracy of that going to be         7      following:
    7    challenged because I never said that.                         8         That the witness was duly sworn by the officer and
    8       MS. BAILEY: Okay. You don't speak on the record,           9      that the transcript of the Videotaped Deposition is a
    9    Mr. Carson.                                                  10      true record of the testimony given by the witness;
   10       MR. CARSON: You think this is annoying you and --         11          I further certify that I am neither counsel for,
                                                                      12      related to, nor employed by any of the parties or
   11    you know, because that's the thing, what this is and --
                                                                      13      attorneys in the action in which this proceeding was
   12    you know, it's oppressing and annoying you, Because all
                                                                      14      taken, and further that I am not financially or
   13    she's doing is want you to verify documents instead of       15      otherwise interested in the outcome of the action.
   14    really deposing you.                                         16          Certified to by me this         day of
    15       MS. BAILEY: Mr. Carson --                                17      2017.
    16   Q. (BY MS. BAILEY) Ms. Moore, actually, I'll speak to        18
    17   you because you're the one I'm deposing here. This is        19

    18   the way a deposition goes. Now, when it's your turn and      20
                                                                      21
    19   you're asking anybody that you want to ask of my clients
                                                                      22
    20
                                                                                           Crystal Garrison, CCR # 613
    21   A. Well,I want to --                                                              Bushman Court Reporting
                                                                      23
    22     THE WITNESS: What you call it?                                                 620 West Third Street, Suite 302
    23     MR. CARSON: Terminate it.                                  24                   Little Rock, Arkansas 72201
    24   A. Terminate.                                                                    (501)372-5115
    25   Q. (BY MS. BAILEY) Okay.                                     25



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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NOR FHERN DIS MCI OF TEXAS
                                  DALLAS DIVISION

J EW ELLEAN i'vfOORF

         Plaintiff,

                                                               GAITSE NO. 3:1       A..-0336.2-1v -.BN

ii.ANCASTER REGiON.AL HOSPITAL:,              P
dba URIiSCENT MEDICAL CENTER
LANCASTER



         DEFENDANT'S NOTICE OE INTENTION TO TAKE THE VIDEOTAPED
                DEPOSITION OF PLAINTIFF JEW FT    MOORE,

To:      Plaintiff Jewellean Moore, 6200 Colonel Glenn Road, Suite 2 l ), Little Rock, Arkansas
         72204.

         Defendant Lancaster Regional Hospital. L,O,            Crescent Medical Center Lancaster

("Crescent Medical Center")hereby submits its Notice of Intention to Take the Videotaped

Deposition of Plui nti IfJev.el lean Moore. -I he deposition will take place on Friday. March I 0, 2017

at   2:00 p m. CST at Bushman Court Reporting, 620 West Third Street, Suite 302, Little Rock,. AR

72201, Phone; 501-37 5115 The deposition will he transcribed by a certified court reporter from

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 DEFENDANT'S NOTICE OF INTEN1ION TO TAKE THE VIDEOTAPL
 DEPOSITION OE PLAINTIFFJEWELLEAN r%1001a
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Case 3:16-cv-03362-M-BN Document 52 Filed 04/28/17                      Page 57 of 62 PageID 553


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                                                       RUSSELL W.SCHELL
                                                       State Bar No. 17736800
                                                               tschelL.kschellcooley,corn
                                                       CASEY C. CAMPBELL
                                                       Stzlte Bar No. 24064997
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                                                       MONICA REY BAILEY
                                                       State Bar No, 2401 108
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                                                       SCHELL C'OOLEY EL?
                                                        1 5455 Dallas Parkway, Suite s51)
                                                        Addison. Texns 7525)
                                                       (214)665-2000 Telephone
                                                           14)754-0060 FaN

                                                        ATTORNEYS FOR DEFENDANT
                                                        LANCASTER REGIONAL HOSPITAL
                                                            t ibia CRESCENT MEDICAL
                                                        CENTER LANCASTER




                                        CERTFICATE OF SERVICE

         hereby certify that a true and correct copy of this
email to the following pro se plaintiff,


                                                        RUSSELL W.SCHELL


          iew(4- 11e3n6iitTEtna' corn
.lewellean Moore, pm 1,ic Plaintiff
6200 Colonel Glenn Road, T'';21c)
 L ittle Rock, AR 72204




DEFENDANTS NOTICE OF INTENTION TO TAKE THE VIDEOTAPED
DEPOSITION OF PLAINTIFF JEWELLEAN MOORE
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  Case 3:16-cv-03362-M-BN Document 52 Filed 04/28/17                                                                  Page 58 of 62 PageID 554




                                                                               CRESCENT

                                                            t'atiaht Name Nl0011E,JEAVELLEAN
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History of Present Illness
                      wcitvbat4 1Z455
Chief Complaint: Headache
DATE /TIME Seen by Provider: U510612016 1'2:52
Is Patient Pregnant: No
Means of Arrival: Automobile
History Reported By: Patient. Spouse
Symptoms:
Enciude: New Onset ticudttcht% Nt-ms.'ea, Vomitng, ttis.orientcd eye pain
Onset Ninth:: Sudden
Onset: Today
Preceding Event: Pt has not been taking her JUN Medication
        Const, ti
Severity: Moderate_
Progre5sion: Worsening
   acerbating Factors; None.Roported
Relieving Factors: None Reported

Review of Systems
          TAXAN iA 05,W7:13        12:!t5
JWS Otherwise Negative: Complete Revicw                                             Negative
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Weight: 262 FY.;(1 ;13..84 kg. I 18S41 2 F,) 05:+06120,6 1232
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eittikai Dab:
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